                                                         Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 1 of 104 Page ID #:1



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                                                         7

                                                         8                          UNITED STATES DISTRICT COURT
                                                         9                        CENTRAL DISTRICT OF CALIFORNIA
                                                         10                                WESTERN DIVISION
                                                         11
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                                                         12   CALIFORNIA EDUCATORS FOR               Case No.: 21-cv-02388
                           SAN DIEGO, CALIFORNIA 92101




                                                              MEDICAL FREEDOM, ARTEMIO
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                                                         13   QUINTERO, MIGUEL SOTELO,
                                                              JANET PHYLLIS BREGMAN,                 COMPLAINT FOR DECLARATORY
                                                         14   CEDRIC JOHNSON, MISANON                AND INJUNCTIVE RELIEF
                                                              (SONI) LLOYD, HEATHER
                                                         15   POUNDSTONE, and THERESA D.
                                                              SANFORD,
                                                         16
                                                                             Plaintiffs,
                                                         17
                                                                    v.
                                                         18
                                                              THE LOS ANGELES UNIFIED
                                                         19   SCHOOL DISTRICT, AUSTIN
                                                              BEUTNER, in his official capacity as        DEMAND FOR JURY TRIAL
                                                         20   Superintendent of the Los Angeles
                                                              Unified School District, and LINDA
                                                         21   DEL CUETO, in her official capacity
                                                              as the Director of Human Resources
                                                         22   for the Los Angeles Unified School
                                                              District,
                                                         23
                                                                           Defendants.
                                                         24

                                                         25

                                                         26        Plaintiffs, CALIFORNIA EDUCATORS FOR MEDICAL FREEDOM
                                                         27   (“CEMF”), ARTEMIO QUINTERO, MIGUEL SOTELO, JANET PHYLLIS
                                                         28   BREGMAN, CEDRIC JOHNSON, MISANON (SONI) LLOYD, HEATHER
                                                                                                     1
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 2 of 104 Page ID #:2



                                                           1    POUNDSTONE, AND THERESA D. SANFORD, by and through their undersigned
                                                           2    counsel, sue Defendants, the LOS ANGELES UNIFIED SCHOOL DISTRICT
                                                           3    (“LAUSD”), AUSTIN BEUTNER, in his official capacity as the Superintendent of the
                                                           4    LAUSD, and LINDA DEL CUETO, in her official capacity as the Director of Human
                                                           5    Resources for the LAUSD, and allege as follows:
                                                           6                                     INTRODUCTION
                                                           7          1.     Plaintiffs are informed and believe and thereon allege that Defendants have
                                                           8    implemented a policy mandating that all employees of LAUSD be vaccinated against
                                                           9    the virus known as SARS-CoV-2, which causes the corona virus disease known as
                                                           10   COVID-19 (together “COVID-19”) by the use of vaccine materials that have not, as
                                                           11   yet, been finally approved by the relevant federal agencies, as a condition of their
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                                                           12   continuing employment (hereinafter, the “Mandate”).
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                                                           13         2.     None of the currently available vaccines for COVID-19 (the “COVID
                                                           14   Vaccines”) has received final approval from the Food and Drug Administration (the
                                                           15   “FDA”). Rather, each one of the COVID Vaccines is an unapproved product that has
                                                           16   been authorized for emergency use under a series of Emergency Use Authorizations
                                                           17   (“EUAs”). The statute granting the FDA the power to authorize a medical product for
                                                           18   emergency use requires that the person being administered the unapproved product be
                                                           19   advised of his or her right to refuse administration of the product. See 21 U.S.C. §
                                                           20   360bbb-3(e)(1)(A) (“Section 360bbb-3”).
                                                           21         3.     For its part, the FDA refers to the COVID Vaccines as “investigational
                                                           22   products” – i.e., they remain experimental. In accordance with the governing statute,
                                                           23   the FDA requires that patients and caregivers be informed of their right to refuse
                                                           24   administration of the product. As well, the FDA has held that the terms and conditions
                                                           25   of the EUAs preempt state and local laws that would impose obligations that are
                                                           26   inconsistent with those terms and conditions.
                                                           27         4.     Section 360bbb-3 reflects a fundamental, public policy goal of striking a
                                                           28   balance between giving people the option of having access to experimental medical
                                                                                                         2
                                                                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 3 of 104 Page ID #:3



                                                           1    products during public emergencies, while also assuring that no one is forced to accept
                                                           2    administration of such an experimental medical product. The Mandate effectively
                                                           3    usurps that public policy objective and stands in violation of clear federal statutory
                                                           4    authority and guidelines.
                                                           5          5.     Section 360bbb-3 further recognizes the well-settled doctrine that medical
                                                           6    experiments, better known in modern parlance as “clinical research”, may not be
                                                           7    performed on human subjects without the express, informed consent of the individual
                                                           8    receiving treatment.
                                                           9          6.     This right to avoid the imposition of human experimentation is
                                                           10   fundamental, and has its roots in the Nuremberg Code of 1947 and has been ratified by
                                                           11   the 1964 Declaration of Helsinki, and further codified in the United States Code of
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                                                           12   Federal Regulations. The standard is indeed so universally recognized that it constitutes
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                                                           13   a jus cogens norm under international law.
                                                           14         7.     The Nuremberg principles have been adopted by the California
                                                           15   Legislature, and no person subject to this State’s jurisdiction may be forced to undergo
                                                           16   the administration of experimental medicine without that person’s informed consent.
                                                           17   The Mandate is therefore contrary to the law of this State.
                                                           18         8.     There is no “pandemic exception” to the law or the Constitution. Plaintiffs
                                                           19   ask that the Court intervene to protect their rights before it is too late.
                                                           20                                            PARTIES
                                                           21         9.     Plaintiff CEMF is a voluntary, unincorporated association of LAUSD
                                                           22   employees whose purpose is to advocate for medical choice and bodily autonomy on
                                                           23   behalf of its members, vis a vis the Mandate. CEMF’s members are directly affected
                                                           24   by the Mandate, and therefore would have standing in their own right to bring this
                                                           25   action. As well, the interests at stake in this case are germane to CEMF’s purpose, and
                                                           26   neither the claims asserted nor the relief requested requires the individual participation
                                                           27   of its members.
                                                           28         10.    Plaintiff ARTEMIO QUINTERO is a citizen of Los Angeles County, and
                                                                                                            3
                                                                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 4 of 104 Page ID #:4



                                                           1    is employed by LAUSD as a Carpenter.
                                                           2          11.    Plaintiff MIGUEL SOTELO is a citizen of Los Angeles County, and is
                                                           3    employed by LAUSD as an Electrician.
                                                           4          12.    Plaintiff JANET PHYLLIS BREGMAN is a citizen of Los Angeles
                                                           5    County, and is employed by LAUSD as a Teacher.
                                                           6          13.    Plaintiff CEDRIC JOHNSON is a citizen of Los Angeles County, and is
                                                           7    employed by LAUSD as a SSS PSA Counselor.
                                                           8          14.    Plaintiff MIDSANON (SONI) LLOYD is a citizen of Los Angeles County,
                                                           9    and is employed by LAUSD as a Teacher.
                                                           10         15.    Plaintiff HEATHER POUNDSTONE is a citizen of Los Angeles County,
                                                           11   and is employed by LAUSD as a Teacher and Librarian.
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                                                           12         16.    Plaintiff THERESA D. SANFORD is a citizen of Los Angeles County,
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                                                           13   and is employed by LAUSD as a Teacher.
                                                           14         17.    Allegations regarding “Plaintiffs” hereinbelow shall be deemed to include
                                                           15   the individual Plaintiffs and the members of Plaintiff CEMF.
                                                           16         18.    Defendant LAUSD is an independent subdivision of the State of
                                                           17   California, and has responsibility for governance of all public schools in the
                                                           18   geographical boundaries defined in its governing documents. LAUSD has enacted
                                                           19   policies, whether express or implied, that deprive or threaten to deprive Plaintiffs of
                                                           20   certain rights, privileges, and immunities under the laws and Constitution of the United
                                                           21   States and under the laws and Constitution of the State of California.
                                                           22         19.    Defendant AUSTIN BEUTNER is the Superintendent of LAUSD, and is
                                                           23   sui juris. Mr. Beutner is ultimately charged with, inter alia, enforcing all employment
                                                           24   policies of the LAUSD. He is being sued in his official capacity.
                                                           25         20.    Defendant LINDA DEL CUETO is the Director of Human Resources for
                                                           26   LAUSD, and is sui juris. On information and belief, Ms. Del Cueto is charged with
                                                           27   developing and enforcing employment policies of LAUSD.              She is named as a
                                                           28   defendant herein in her official capacity.
                                                                                                             4
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 5 of 104 Page ID #:5



                                                           1          21.    Defendants Beutner and Del Cueto have personally undertaken actions
                                                           2    under color of law that deprive or imminently threaten to deprive Plaintiffs of certain
                                                           3    rights, privileges, and immunities under the laws and Constitution of the United States,
                                                           4    and under the laws and Constitution of the State of California.
                                                           5          22.    Defendants are all state actors unprotected by sovereign immunity for
                                                           6    purposes of this action.
                                                           7                                JURISDICTION AND VENUE
                                                           8          23.    This Court has jurisdiction to hear this case under 28 U.S.C. § 1331, which
                                                           9    confers original jurisdiction on federal district courts to hear suits arising under the laws
                                                           10   and Constitution of the United States, as well as under 42 U.S.C. § 1983 in relation to
                                                           11   Defendants’ intent to deprive Plaintiffs of certain rights, privileges, and immunities as
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                                                           12   detailed herein.
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                                                           13         24.    This Court has jurisdiction over the claims asserting violations of the laws
                                                           14   and Constitution of the State of California through its supplemental jurisdiction under
                                                           15   28 U.S.C. § 1367(a), as those claims are so closely related to the Plaintiffs’ federal
                                                           16   question and Section 1983 claims that they form part of the same case or controversy
                                                           17   under Article III of the United States Constitution.
                                                           18         25.    This Court has the authority to award the requested declaratory relief under
                                                           19   28 U.S.C. § 2201; the requested injunctive relief under 28 U.S.C. § 1343(a), and
                                                           20   attorneys’ fees and costs under 42 U.S.C. § 1988.
                                                           21         26.    The Central District of California, Western Division is the appropriate
                                                           22   venue for this action pursuant to 28 U.S.C. § 1391(b)(1) and (2) because it is the District
                                                           23   in which Defendants reside, exercise their authority in their official capacities, and/or
                                                           24   have threatened to deprive Plaintiffs of the rights and liberties under the laws and
                                                           25   Constitution of the United States, and in addition thereto to violate the laws and
                                                           26   Constitution of the State of California, as further alleged herein. It is also the District
                                                           27   in which a substantial part of the events giving rise to Plaintiffs’ claims have occurred
                                                           28   and continue to occur.
                                                                                                            5
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 6 of 104 Page ID #:6



                                                           1                                 FACTUAL BACKGROUND
                                                           2         The Universal Prohibition on Human Experimentation Without Consent
                                                           3          27.    Among the horrors that emerged from the rubble of World War II were
                                                           4    stories of barbaric medical experiments performed on unwilling victims of Nazi
                                                           5    Germany’s concentration camps.
                                                           6          28.    On August 8, 1945, the prevailing Allies established an International
                                                           7    Military Tribunal (the “IMT”). Under the aegis of the IMT, the law authorized the
                                                           8    creation of U.S. military tribunals for the trial of “lower-level” war criminals, such as
                                                           9    doctors accused of conducting medical experiments without the subjects’ consent.1
                                                           10         29.    A U.S. military tribunal subsequently found 15 doctors guilty of
                                                           11   conducting nonconsensual experiments, which included the testing of drugs for
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                                                           12   immunization against malaria, epidemic jaundice, smallpox, and cholera. “In every
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                                                           13   single instance appearing in the record,” the tribunal concluded, “subjects were used
                                                           14   who did not consent to the experiments. . . .” The tribunal sentenced seven of the
                                                           15   doctors to death, and the remaining eight to life in prison.
                                                           16         30.    As part of its final judgment, the tribunal promulgated the Nuremberg
                                                           17   Code on Permissible Medical Experiments. Point One of the Nuremberg Code states:
                                                           18   “The voluntary consent of the human subject is absolutely essential.”
                                                           19         31.    This standard has since been repeatedly ratified and adopted around the
                                                           20   globe, in laws, treaties, regulations, and ethical guidelines for medical research. For
                                                           21   example, in 1964, the World Medical Association adopted the Declaration of Helsinki,
                                                           22   which provides that human subjects “must be volunteers and informed participants in
                                                           23   the research project.” Declaration of Helsinki at Art. 20.
                                                           24         32.    Although themselves non-binding, the principles underlying the
                                                           25

                                                           26   1
                                                                       Sources for the historical facts set forth herein can be found in Abdullahi v. Pfizer,
                                                           27   Inc., 562 F.3d 163 (2d Cir. 2009), which explains in detail the history and reasons why
                                                           28
                                                                the prohibition against nonconsensual human experimentation should be regarded as a
                                                                jus cogens norm.
                                                                                                            6
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 7 of 104 Page ID #:7



                                                           1    Declaration of Helsinki and the Nuremberg Code have been incorporated into
                                                           2    international conventions, as well as the laws and regulations of countries around the
                                                           3    world, including the United States of America.
                                                           4          33.    The International Covenant on Civil and Political Rights of the United
                                                           5    Nations, which went into effect in 1976, provides in Article I that “[a]ll peoples have
                                                           6    the right of self determination” and in Article 7 that “no one shall be subjected without
                                                           7    his free consent to medical or scientific experimentation.”
                                                           8          34.    The informed consent principles of the Declaration of Helsinki were also
                                                           9    incorporated by a 2001 Directive passed by the European Parliament and the Council
                                                           10   of the European Union.
                                                           11         35.    In addition, 35 members of the Council of Europe have signed the
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                                                           12   Convention on Human Rights and Biomedicine, which provides that informed consent
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                               701 B STREET, SUITE 1725




                                                           13   is required for a subject’s involvement in medical research.
                                                           14         36.    In 2005, the General Conference of UNESCO adopted the Universal
                                                           15   Declaration on Bioethics and Human Rights, requiring free and informed consent for
                                                           16   participation in medical research-oriented treatments.
                                                           17         37.    On December 1, 2020, the High Court of Justice, Queen’s Bench Division,
                                                           18   Administrative Court in the United Kingdom concluded that minors lack the ability to
                                                           19   give informed consent to the administration of puberty blockers to treat gender
                                                           20   dysphoria because the procedure remains experimental.2
                                                           21         38.    These principles have been adopted by statutes and regulations in the
                                                           22   United States.
                                                           23         39.    In 1979, the Department of Health, Education and Welfare issued the
                                                           24

                                                           25
                                                                2
                                                           26          See Bell v. The Tavistock and Portman NHS Foundation Trust, Case No.
                                                                CO/60/2020,      [2020]    EWHC       3274     (Admin)     (Engl.     & Wales)
                                                           27   https://www.judiciary.uk/wp-content/uploads/2020/12/Bell-v-Tavistock-
                                                           28   Judgment.pdf.

                                                                                                          7
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 8 of 104 Page ID #:8



                                                           1    Belmont Report, which addressed the issue of informed consent in the human
                                                           2    experimentation setting. The Report identified respect for self-determination by
                                                           3    “autonomous persons” as the first of three “basic ethical principles” which “demands
                                                           4    that subjects enter into the research voluntarily and with adequate information.”
                                                           5          40.     Ultimately, the principles of the Belmont Report, which itself was guided
                                                           6    by the Nuremberg Code and the Declaration of Helsinki, were adopted by the FDA in
                                                           7    its regulations requiring the informed consent of human subjects for medical research.
                                                           8    See 21 C.F.R. § 50.20.3 The Department of Health and Human Services has similarly
                                                           9    adopted this standard in its regulations governing grants for medical research. See 45
                                                           10   C.F.R. § 46.116. The United States clearly regards itself as bound by the provisions of
                                                           11   the Nuremberg Code and the Declaration of Helsinki.
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                                                           12         41.     The Nuremberg principles have also been adopted by this State. See Cal.
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                               701 B STREET, SUITE 1725




                                                           13   Health & Saf. Code § 24170, et. seq. (requiring informed consent for human trial
                                                           14   subjects).4
                                                           15         42.     For these and other reasons, the prohibition against nonconsensual human
                                                           16   experimentation must be regarded not only as established by U.S. law and regulations,
                                                           17   but also as so broadly recognized by all nations as to constitute a jus cogens norm under
                                                           18   international law.
                                                           19

                                                           20   3
                                                                       The exceptions to this standard are extremely narrow, and require certification
                                                           21   by a researcher and an independent physician that, for example, “[t]he human subject is
                                                                confronted with a life-threatening situation necessitating the use of the test article”;
                                                           22
                                                                informed consent cannot be obtained from the subject; time does not permit obtaining
                                                           23   informed consent from the subject’s legal representative; and “there is available no
                                                                alternative method of approved or generally recognized therapy that provides an equal
                                                           24
                                                                or greater likelihood of saving the life of the subject.” 21 C.F.R. § 50.23. See also 21
                                                           25   C.F.R. § 50.24 (providing a similarly narrow exception to informed consent
                                                           26
                                                                requirements for emergency research).

                                                           27   4
                                                                     California is not the only state to encode the Nuremberg principles. See, e.g.,
                                                           28
                                                                Pub NY Health Ch. 45, Art. 24-a (mandating informed consent in human research);
                                                                VA Code Ann. § 32.1-162.18 (same).
                                                                                                          8
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 9 of 104 Page ID #:9



                                                           1                                      Operation Warp Speed
                                                           2          43.    On January 30, 2020, the World Health Organization (“WHO”) declared a
                                                           3    “public health emergency of international concern over the global outbreak” of COVID-
                                                           4    19. Among other recommendations, the WHO called for accelerated development of
                                                           5    “vaccines, therapeutics and diagnostics.”
                                                           6          44.    The following day, U.S. Health and Human Services (“HHS”) Secretary
                                                           7    Alex Azar declared a national Public Health Emergency (“PHE”), retroactive to January
                                                           8    27, 2020, “to aid the nation’s healthcare community in responding” to COVID-19. By
                                                           9    then, HHS was already collaborating with the pharmaceutical industry regarding the
                                                           10   development of vaccines.
                                                           11         45.    In April 2020, the national Administration announced Operation Warp
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                                                           12   Speed (“OWS”) – a public/private partnership to develop and distribute a vaccine for
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   COVID-19 by the end of 2020 or early 2021.
                                                           14         46.    The process for developing a vaccine normally takes place in several
                                                           15   phases, over a period of years.
                                                           16         47.    The general stages of the development cycle for a vaccine are:
                                                           17                a. Exploratory stage;
                                                           18                b. Pre-clinical stage (animal testing);
                                                           19                c. Clinical development (human trials – see below);
                                                           20                d. Regulatory review and approval;
                                                           21                e. Manufacturing; and
                                                           22                f. Quality control.5
                                                           23         48.    The third stage, clinical development, is itself a three-phase process:
                                                           24                a. During Phase I, small groups of people receive the trial vaccine.
                                                           25                b. In Phase II, the clinical study is expanded and vaccine is given to people
                                                           26                   who have characteristics (such as age and physical health) similar to
                                                           27

                                                           28   5
                                                                      https://www.cdc.gov/vaccines/basics/test-approve.html.
                                                                                                            9
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 10 of 104 Page ID #:10



                                                            1                   those for whom the new vaccine is intended.
                                                            2                c. In Phase III, the vaccine is given to thousands of people and tested for
                                                            3                   efficacy and safety.
                                                            4         49.    Phase III itself normally occurs over a course of years. That is because it
                                                            5   can take years for the side effects of a new vaccine to manifest themselves.
                                                            6         50.    Phase III must be followed by a period of regulatory review and approval.
                                                            7   During this stage, data and outcomes are reviewed by peers and by the FDA.
                                                            8         51.    Finally, the manufacturer must demonstrate that the vaccine can be
                                                            9   manufactured under conditions that assure adequate quality control.
                                                           10         52.    The timeline set by OWS telescoped what would normally take years of
                                                           11   research into a matter of months.
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                                                           12         53.    Commercial vaccine manufacturers and other entities proceeded with
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   development of COVID-19 vaccine candidates using different technologies including
                                                           14   RNA, DNA, protein, and viral vectored vaccines.
                                                           15         54.    Two potential vaccines emerged early on as likely candidates: one
                                                           16   developed by Moderna (the “Moderna Vaccine”), the other by Pfizer (the “Pfizer
                                                           17   Vaccine”), with both announcing Phase III trial results in November 2020.
                                                           18         55.    In early 2021, Janssen Biotech, Inc. submitted Phase III trial results for its
                                                           19   adenovirus vector vaccine (the “Janssen Vaccine”).
                                                           20                                          The EUAs
                                                           21         56.    Congress enacted Title 21, Section 360bbb-3 of the Federal Food, Drug,
                                                           22   and Cosmetic Act (the “FFDCA”) to vest the Secretary of Health and Human Services
                                                           23   with permissive authority to “authorize the introduction into interstate commerce,
                                                           24   during the effective period of a declaration [of emergency], of a drug, device, or
                                                           25   biological product intended for use in an actual or potential emergency. . . .” 21 U.S.C.
                                                           26   § 360bbb-3(a)(1).
                                                           27         57.    The statute provides for the authorization of both unapproved products and
                                                           28   unapproved uses of an approved product. See 21 U.S.C. § 360bbb-3(a)(2). The
                                                                                                          10
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 11 of 104 Page ID #:11



                                                            1   Vaccines fall under the former category, as they have not been previously approved for
                                                            2   any use, nor have they been approved to date.
                                                            3         58.   Section 360bbb-3 mandates the following conditions for authorization of
                                                            4   an unapproved product:
                                                            5               . . . [T]he Secretary, to the extent practicable given the
                                                            6               applicable circumstances described in subsection (b)(1),
                                                            7               shall, for a person who carries out any activity for which the
                                                            8               authorization is issued, establish such conditions on an
                                                            9               authorization under this section as the Secretary finds
                                                           10               necessary or appropriate to protect the public health,
                                                           11               including the following:
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                                                           12
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13               . . . (ii) Appropriate conditions designed to ensure that
                                                           14               individuals to whom the product is administered are
                                                           15               informed—
                                                           16

                                                           17               . . . (III) of the option to accept or refuse administration of
                                                           18               the product. . . .
                                                           19

                                                           20   21 U.S.C. § 360bbb-3(e)(1)(A)(ii) (emphasis added).
                                                           21         59.   Pfizer and Moderna applied for EUAs under Section 360bbb-3 in
                                                           22   November-December 2020. Janssen applied for an EUA in early 2021.
                                                           23         60.   On December 11, 2020, the FDA granted an EUA for the Pfizer Vaccine.
                                                           24   An updated version of the EUA Letter to Pfizer is attached hereto as Exhibit “A”.
                                                           25         61.   The FDA granted an EUA for the Moderna Vaccine on December 18,
                                                           26   2020. The EUA Letter to Moderna is attached hereto as Exhibit “B”.
                                                           27         62.   The FDA granted an EUA for the Janssen Vaccine on February 27, 2021.
                                                           28   The EUA Letter to Janssen is attached hereto as Exhibit “C”.
                                                                                                        11
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 12 of 104 Page ID #:12



                                                            1         63.    Each of the EUA Letters provides details regarding the reasoning for the
                                                            2   EUAs, and dictating strict conditions for, among other things, administering the
                                                            3   Vaccines.
                                                            4         64.    Under “Conditions of Authorization,” each of the EUA letters directs that
                                                            5   the manufacturers:
                                                            6                and authorized distributor(s) will ensure that the authorized []
                                                            7                COVID-19 Vaccine is distributed, as directed by the U.S.
                                                            8                government, including CDC and/or other designee, and the
                                                            9                authorized labeling (i.e., Fact Sheets) will be made available
                                                           10                to vaccination providers, recipients, and caregivers consistent
                                                           11                with the terms of this letter.
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                                                           12   See, e.g., Ex. “C” at 5, ¶A.
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                                                           13         65.    Each EUA Letter is accompanied by a Fact Sheet for Health Care
                                                           14   Providers and a Fact Sheet for Patients and Caregivers. The Fact Sheets to Providers
                                                           15   mandate, among other things, that a provider must communicate, to the recipient or the
                                                           16   caregiver, information consistent with the “Fact Sheet for Recipients and Caregivers”
                                                           17   prior to administering the vaccine, including information that “the recipient or their
                                                           18   caregiver has the option to accept or refuse” the vaccine. See Pfizer Fact Sheet for
                                                           19   Health Care Providers, attached as Exhibit “D” (emphasis added).
                                                           20         66.    The Fact Sheets for Recipients and Caregivers likewise contain the
                                                           21   following advice:
                                                           22                WHAT IF I DECIDE NOT TO GET THE [] COVID-19
                                                           23                VACCINE?
                                                           24

                                                           25                It is your choice to receive or not receive the [] COVID-19
                                                           26                Vaccine. Should you decide not to receive it, it will not
                                                           27                change your standard medical care.
                                                           28

                                                                                                              12
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 13 of 104 Page ID #:13



                                                            1   See Moderna Fact Sheet for Recipients and Caregivers, attached as Exhibit “E”
                                                            2   (emphasis added).
                                                            3         67.   Consistent with its mandate under Section 360bbb-3, the FDA continues
                                                            4   to refer to the Vaccines as “unapproved” or “investigational” products. See, e.g., Ex.
                                                            5   “D” at 8 (referring to Pfizer Vaccine as an “unapproved product”) (emphasis added);
                                                            6   Ex. “B” at 1 (noting that the Moderna Vaccine “is an investigational vaccine not
                                                            7   licensed for any indication”) (emphasis added).
                                                            8         68.   In other words, as a legal matter and as a matter of FDA policy and
                                                            9   guidance, the Vaccines remain experimental.6
                                                           10         69.   Separate and apart from the requirements of Section 360bbb-3 and the
                                                           11   FDA’s guidance thereunder, Plaintiffs have a reasonable apprehension that the
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                                                           12   technology underlying the Moderna Vaccine (the vaccine being acquired by LAUSD)
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                                                           13   is experimental.
                                                           14         70.   As noted above, the Moderna Vaccine uses messenger RNA (“mRNA”).
                                                           15   Before last year, no mRNA-based vaccine had ever made it to human trials, because
                                                           16   when injected in sufficiently high doses to render the desired effect, it triggered
                                                           17   dangerous immune reactions, even resulting in death, in animal subjects, making it too
                                                           18   dangerous to test on humans. Even if that problem has been solved, given the severely
                                                           19   telescoped timeline for development, no one knows at this time what will be the long-
                                                           20   term effects of mRNA vaccine technology. It is, by definition, experimental medicine.
                                                           21                                       The Mandate
                                                           22         71.   On or about March 16, 2020, LAUSD closed all schools in Los Angeles
                                                           23   County to in-person instruction.
                                                           24         72.   Since that time, LAUSD has struggled to come up with a plan for
                                                           25

                                                           26   6
                                                                       Only one vaccine, against inhaled anthrax, has ever previously been approved for
                                                           27   emergency use. A district court found that it was an investigational drug and enjoined
                                                           28
                                                                its forced administration to military servicemembers without their informed consent.
                                                                See Doe v. Rumsfeld, 297 F. Supp. 2d 119 (D.D.C. 2003).
                                                                                                        13
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 14 of 104 Page ID #:14



                                                            1   reopening for in-classroom instruction.7
                                                            2          73.    In or about February 2021, Plaintiffs began to receive communications
                                                            3   from Defendant Beutner, and other representatives of LAUSD, instructing them to
                                                            4   make appointments to get vaccinated. None of these communications have included
                                                            5   the Fact Sheet information required by the FDA to be disseminated to recipients under
                                                            6   the EUAs.
                                                            7          74.    On March 4, 2021, Defendant Del Cueto distributed an interoffice
                                                            8   memorandum to the local district superintendents regarding “Human Resources
                                                            9   COVID-19 Employee Vaccination Information and Resources,” a true and correct copy
                                                           10   of which is attached hereto as Exhibit “F”.
                                                           11          75.    The memorandum includes as “ATTACHMENT 1” Defendants’
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                                                           12   “VACCINATION GUIDANCE FOR EMPLOYEES” (the “Guidance”). The Guidance
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                                                           13   states, inter alia, that:
                                                           14                 a. The Moderna vaccine is currently being administered by Los Angeles
                                                           15                     Unified nurses and other licensed healthcare professionals to Los
                                                           16                     Angeles Unified employees.
                                                           17                 b. You will schedule your appointment . . . .
                                                           18                 c. You will provide proof of vaccination via the DailyPass for time
                                                           19                     reporting purposes.
                                                           20   Ex. “F” (emphasis added).
                                                           21          76.    ATTACHMENT 2 provides guidance for supervisors, and contains
                                                           22   essentially the same language.
                                                           23          77.    The Guidance clearly indicates that vaccination is mandatory.
                                                           24

                                                           25
                                                                7
                                                           26
                                                                       This has been despite growing evidence that large public schools have, since the
                                                                fall semester of 2020, reopened safely for in-classroom instruction, with positivity rates
                                                           27   for COVID-19 well below those for their surrounding communities.                      See
                                                           28
                                                                https://www.cnn.com/2021/01/11/us/miami-dade-schools-open-coronavirus-
                                                                wellness/index.html.
                                                                                                           14
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 15 of 104 Page ID #:15



                                                            1         78.    As well, Defendant Del Cueto made a verbal statement in the presence of
                                                            2   Plaintiff Quintero to the effect that the vaccine is mandatory, and that any refusal by an
                                                            3   employee to get vaccinated will trigger disciplinary action.
                                                            4         79.    A representative of Teamsters Local 572 informed employees of LAUSD’s
                                                            5   Operations department via email of the results of a “Q&A” session with representatives
                                                            6   of LAUSD. See Exhibit “G”, attached hereto. The email states that, in response to a
                                                            7   question as to whether vaccinations will be mandatory, LAUSD representatives
                                                            8   answered: “All District employees will be required to be vaccinated. No exceptions
                                                            9   have been made. . . .” (emphasis in original). Id.
                                                           10         80.    The foregoing communications, as well as other statements made to
                                                           11   Plaintiffs by supervisors and union representatives, all indicate that Defendants have
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                                                           12   formed an express or de facto policy, referred to herein as the Mandate, that requires
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                                                           13   vaccination as a condition of Plaintiffs’ continuing employment unhindered by
                                                           14   disciplinary action.
                                                           15         81.    Plaintiffs have further been informed that any refusal to be vaccinated by
                                                           16   April 2021 will result in a job detriment, up to and including termination from
                                                           17   employment.
                                                           18         82.    LAUSD is a political subdivision of the State of California with a
                                                           19   governing board publicly elected by residents of Los Angeles County and Defendants
                                                           20   Beutner and Del Cueto are employees of LAUSD. The Mandate therefore constitutes
                                                           21   “state action” taken “under color of law.”
                                                           22     PLAINTIFFS’ CONCERNS AND STANDING TO SEEK DECLARATORY
                                                           23                                           RELIEF
                                                           24         83.    Plaintiffs are all employees of LAUSD who are directly affected by the
                                                           25   Mandate.
                                                           26         84.    The conditions of the EUAs prohibit any person from administering the
                                                           27   Vaccines without the consent of the patient, as particularly described hereinabove and
                                                           28   governmental agencies from requiring non-consensual administration of same.
                                                                                                          15
                                                                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 16 of 104 Page ID #:16



                                                            1         85.    More broadly, Plaintiffs have a universally recognized, fundamental right
                                                            2   to be free from human medical experimentation, a right that is protected by recognized
                                                            3   international legal standards, international treaties to which the United States is a
                                                            4   member, the laws and regulations of the United States, and the Due Process Clause of
                                                            5   the Fourteenth Amendment.
                                                            6         86.    Plaintiffs do not consent to being administered the COVID Vaccines.
                                                            7         87.    Because Defendants have indicated that administration of the COVID
                                                            8   Vaccine will be a condition of their ongoing employment, Plaintiffs are uncertain of
                                                            9   their rights, and seek declaratory relief in order to have clarity as to their rights. A real
                                                           10   and concrete controversy exists between Plaintiffs and Defendants in that Defendants
                                                           11   contend that they have the right, power and authority to require involuntary vaccination
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                                                           12   as a condition of continuing employment at a public, governmental agency and
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                                                           13   Plaintiffs contend that they have the right under international treaties and protocols, the
                                                           14   Constitution and laws of the United States of America, and the Constitution and laws
                                                           15   of the State of California to refuse vaccination without discipline or impairment of their
                                                           16   employment status with LAUSD.
                                                           17         88.    All conditions precedent to this action have been performed, excused,
                                                           18   and/or waived.
                                                           19                                        FIRST CLAIM
                                                           20                                        (All Defendants)
                                                           21                                 FEDERAL PREEMPTION
                                                           22         89.    Plaintiffs reallege and incorporate by reference their allegations in
                                                           23   Paragraphs 1 – 88, as if fully alleged herein, and further allege:
                                                           24         90.    Federal laws and regulations governing the administration of medical
                                                           25   products such as vaccines, including Section 360bbb-3 and the FDA’s regulations,
                                                           26   protocols, and guidance thereunder, fully occupy the field and explicitly and completely
                                                           27   preempt any and all contrary or inconsistent laws of the States and/or local
                                                           28   governments.
                                                                                                           16
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 17 of 104 Page ID #:17



                                                            1          91.       The clear intent of Section 360bbb-3 and of the FDA’s guidance and
                                                            2   regulations implementing the statute is to allow, in the course of a medical crisis,
                                                            3   voluntary access to unapproved – i.e., experimental – medical products. It was plainly
                                                            4   not the intent of Congress to shortcut the formal approval process for medical products
                                                            5   such as vaccines.
                                                            6          92.       By mandating that all employees of LAUSD be administered the COVID
                                                            7   Vaccine, Defendants usurp and frustrate the intent of Congress, and the mission of the
                                                            8   FDA in carrying out that intent.
                                                            9          93.       Because the COVID Vaccines are investigational products, authorized –
                                                           10   not approved – for use under an Emergency Use Authorization, the laws and regulations
                                                           11   of the United States prohibit their administration to any person who does not consent.
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                                                           12          94.       Plaintiffs do not consent to being administered the COVID Vaccines.
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                                                           13          95.       The Mandate is therefore patently contrary to United States law, and thus
                                                           14   preempted and invalid.
                                                           15          96.       As well, Title 21, Part 50 of the Code of Federal Regulations governs the
                                                           16   protection of human subjects in the conduct of all clinical investigations regulated by
                                                           17   the U.S. Food and Drug Administration.
                                                           18          97.       21 C.F.R. § 50.20 provides that, “[e]xcept as provided in §§
                                                           19   50.23 and 50.24, no investigator may involve a human being as a subject in research
                                                           20   covered by these regulations unless the investigator has obtained the legally effective
                                                           21   informed consent of the subject or the subject's legally authorized representative.”
                                                           22          98.       None of the exemptions provided in sections 50.23 and 50.24 would apply
                                                           23   to Plaintiffs.
                                                           24          99.       Accordingly, the Mandate at issue violates federal regulations governing
                                                           25   the administration of experimental medicine, and is thus preempted.
                                                           26          100. A real and immediate controversy exists between the parties requiring the
                                                           27   intervention of this Court by way of declaratory relief to determine the respective rights
                                                           28   and powers of the respective parties. In addition, Plaintiffs have no adequate remedy at
                                                                                                            17
                                                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 18 of 104 Page ID #:18



                                                            1   law available against Defendants for the injuries and the irreparable harm they will
                                                            2   imminently suffer as a direct result of the Mandate.
                                                            3                                      SECOND CLAIM
                                                            4                                       (All Defendants)
                                                            5        SUBSTANTIVE DUE PROCESS – MEDICAL EXPERIMENTATION
                                                            6                                       42 U.S.C. §1983
                                                            7         101. Plaintiffs reallege and incorporate by reference their allegations in
                                                            8   Paragraphs 1 – 88, as if fully alleged herein, and further allege:
                                                            9         102. As set forth above, the COVID Vaccines are experimental.
                                                           10         103. Plaintiffs have a protected liberty interest, secured by the Due Process
                                                           11   Clause of the United States Constitution, international protocols and international
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                                                           12   treaties adopted by and entered into by the United States of America, and by the laws
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                                                           13   and regulations of the United States, to be free from forced medical experimentation.
                                                           14         104. This right is further recognized as a jus cogens norm under the law of
                                                           15   nations, which prohibits human medical experimentation without informed consent.
                                                           16         105. Plaintiffs do not consent to being administered the COVID Vaccines.
                                                           17         106. Defendants have instituted a District-wide Mandate requiring that all
                                                           18   employees of LAUSD be vaccinated against COVID-19.
                                                           19         107. The Mandate constitutes the official or de facto policy of LAUSD, such
                                                           20   that LAUSD is a “person” for purposes of Section 1983.
                                                           21         108. Defendants are state actors, and have instituted or imminently intend to
                                                           22   institute the Mandate under color of law.
                                                           23         109. The forcible administration of the COVID Vaccines, on pain of
                                                           24   termination from employment, would deprive Plaintiffs of their substantive due process
                                                           25   rights and constitute a violation of their property rights under Skelly v. State Personnel
                                                           26   Board (1974) 15 Cal.3rd 194.
                                                           27         110. The harm to Plaintiffs cannot be adequately redressed in the event that the
                                                           28   Mandate is carried out.
                                                                                                          18
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 19 of 104 Page ID #:19



                                                            1                                       THIRD CLAIM
                                                            2                                       (All Defendants)
                                                            3                            VIOLATION OF CALIFORNIA’S
                                                            4   PROTECTION OF HUMAN SUBJECTS IN MEDICAL EXPERIMENTATION
                                                            5                ACT, CAL. HEALTH & SAFETY CODE § 24170, et. seq.
                                                            6         111. Plaintiffs reallege and incorporate by reference their allegations in
                                                            7   Paragraphs 1 – 88, as if fully alleged herein, and further allege:
                                                            8         112. Plaintiffs invoke the Court’s supplemental jurisdiction to claim that the
                                                            9   Mandate violates the law of this State governing human medical experimentation.
                                                           10         113. The Protection of Human Subjects in Medical Experimentation Act (the
                                                           11   “Act”) adopts the Belmont principles by prohibiting medical experimentation on human
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                                                           12   subjects without their informed consent. Cal. Health & Saf. Code § 24170, et. seq.
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                                                           13         114. The COVID Vaccines are experimental, as further alleged hereinabove.
                                                           14         115. The Mandate is therefore facially void, as a matter of law.
                                                           15         116. Even if the Mandate is not void, Plaintiffs do not consent to being
                                                           16   administered the COVID Vaccines.
                                                           17         117. Plaintiffs reserve their rights to seek damages and other relief as the Court
                                                           18   may deem just, pursuant to Section 24176 of the Act.
                                                           19                                  PRAYER FOR RELIEF
                                                           20         WHEREFORE, Plaintiffs pray for judgment in its favor and against
                                                           21   Defendants, and each of them, as follows:
                                                           22   FIRST CLAIM
                                                           23      1. For declaratory judgment that Defendants’ Mandate requiring administration of
                                                           24         the COVID Vaccines to each of them violates and is preempted by the laws and
                                                           25         regulations of the United States governing the administration of investigational
                                                           26         medical products, for an injunction prohibiting enforcement of the Mandate; and
                                                           27      2. For attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.
                                                           28   ///
                                                                                                          19
                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 20 of 104 Page ID #:20



                                                            1   SECOND CLAIM
                                                            2      1. For declaratory judgment that Defendants’ Mandate requiring administration of
                                                            3         the COVID Vaccines to each of them violates their rights to substantive due
                                                            4         process and/or their liberty and property interests under the Fourteenth
                                                            5         Amendment to the Constitution of the United States and the laws and
                                                            6         Constitution of the State of California, that Defendants be enjoined from
                                                            7         administering any COVID Vaccines to any Plaintiff without that Plaintiff’s
                                                            8         express informed consent; and
                                                            9      2. For attorneys’ fees and costs as provided in 42 U.S.C. § 1988.
                                                           10   THIRD CLAIM
                                                           11      1. For declaratory judgment that Defendants’ Mandate Violates California Health
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                                                           12         and Safety Code §§ 24170, et. seq., and that the Court enjoin Defendants from
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                                                           13         enforcing the Mandate.
                                                           14   ALL CLAIMS
                                                           15      1. For judgment in favor of Plaintiffs;
                                                           16      2. For costs of suit herein; and
                                                           17      3. For such other and further relief as the Court deems just and proper.
                                                           18

                                                           19   Dated: March 17, 2021                 JW HOWARD/ATTORNEYS
                                                           20

                                                           21                                         /s/ John W. Howard
                                                                                                      John W. Howard
                                                           22                                         Attorney for Plaintiffs
                                                           23

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                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                                           Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 21 of 104 Page ID #:21



                                                            1                               DEMAND FOR JURY TRIAL
                                                            2         Plaintiffs demand a right to a jury trial for all matters so triable.
                                                            3

                                                            4   Dated: March 17, 2021                   JW HOWARD/ATTORNEYS
                                                            5

                                                            6                                           /s/ John W. Howard
                                                                                                        John W. Howard
                                                            7                                           Attorney for Plaintiffs
                                                            8

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                                                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 22 of 104 Page ID #:22




                         EXHIBIT “A”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 23 of 104 Page ID #:23




                                                                                            February 25, 2021

  Pfizer Inc.
  Attention: Ms. Elisa Harkins
  500 Arcola Road
  Collegeville, PA 19426

  Dear Ms. Harkins:

  On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Act, the Secretary of the
  Department of Health and Human Services (HHS) determined that there is a public health
  emergency that has a significant potential to affect national security or the health and security of
  United States citizens living abroad, and that involves the virus that causes Coronavirus Disease
  2019 (COVID-19). 1 On the basis of such determination, the Secretary of HHS on March 27,
  2020, declared that circumstances exist justifying the authorization of emergency use of drugs
  and biological products during the COVID-19 pandemic, pursuant to Section 564 of the Federal
  Food, Drug, and Cosmetic Act (the FD&C Act or the Act) (21 U.S.C. 360bbb-3), subject to
  terms of any authorization issued under that section. 2

  On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
  Authorization (EUA) for emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
  prevention of COVID-19 for individuals 16 years of age and older pursuant to Section 564 of the
  Act. On December 23, 2020, FDA reissued the December 11, 2020 letter to, among other
  revisions, remove reference to the number of doses per vial after dilution. 3

  On February 25, 2021, again having concluded that revising this EUA is appropriate to protect
  the public health or safety under section 564(g)(2) of the Act, FDA is reissuing the
  December 23, 2020, letter in its entirety with revisions incorporated to allow flexibility on the
  date of submission of monthly periodic safety reports and to revise the requirements for reporting
  of vaccine administration errors by Pfizer Inc. The Fact Sheet for Health Care Providers

  1
    U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration
  that Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and
  Cosmetic Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
  2
   U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
  Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
  (April 1, 2020).
  3
   In the December 23, 2020 revision, in addition to removal of the reference to the number of doses per vial after
  dilution from the letter of authorization, FDA clarified the instructions for vaccination provider reporting to VAERS,
  and made other technical corrections. FDA also revised the Fact Sheet for Healthcare Providers Administering
  Vaccine (Vaccination Providers) to clarify the number of doses of vaccine per vial after dilution and the instructions
  for reporting to VAERS. In addition, the Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination
  Providers) and the Fact Sheet for Recipients and Caregivers were revised to include additional information on safety
  monitoring and to clarify information about the availability of other COVID-19 vaccines.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 24 of 104 Page ID #:24

  Page 2 – Pfizer Inc.


  Administering Vaccine (Vaccination Providers) is being revised to provide an update to the
  storage and transportation temperature for frozen vials, direct the provider to the correct CDC
  website for information on monitoring vaccine recipients for the occurrence of immediate
  adverse reactions, to include data from a developmental toxicity study, and add adverse reactions
  that have been identified during post authorization use. The Fact Sheet for Recipients and
  Caregivers is being revised to add adverse reactions that have been identified during post
  authorization use.

  Pfizer-BioNTech COVID‑19 Vaccine is for use for active immunization to prevent COVID-19
  caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
  years of age and older. The vaccine contains a nucleoside-modified messenger RNA (modRNA)
  encoding the viral spike (S) glycoprotein of SARS-CoV-2 formulated in lipid particles. It is an
  investigational vaccine not licensed for any indication.

  FDA reviewed safety and efficacy data from an ongoing phase 1/2/3 trial in approximately
  44,000 participants randomized 1:1 to receive Pfizer-BioNTech COVID‑19 Vaccine or saline
  control. The trial has enrolled participants 12 years of age and older. FDA’s review has
  considered the safety and effectiveness data as they relate to the request for emergency use
  authorization in individuals 16 years of age and older. FDA’s review of the available safety data
  from 37,586 of the participants 16 years of age and older, who were followed for a median of
  two months after receiving the second dose, did not identify specific safety concerns that would
  preclude issuance of an EUA. FDA’s analysis of the available efficacy data from 36,523
  participants 12 years of age and older without evidence of SARS-CoV-2 infection prior to 7 days
  after dose 2 confirm the vaccine was 95% effective (95% credible interval 90.3, 97.6) in
  preventing COVID-19 occurring at least 7 days after the second dose (with 8 COVID-19 cases in
  the vaccine group compared to 162 COVID-19 cases in the placebo group). Based on these data,
  and review of manufacturing information regarding product quality and consistency, it is
  reasonable to believe that Pfizer-BioNTech COVID‑19 Vaccine may be effective. Additionally,
  it is reasonable to conclude, based on the totality of the scientific evidence available, that the
  known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine outweigh the known and
  potential risks of the vaccine, for the prevention of COVID-19 in individuals 16 years of age and
  older. Finally, on December 10, 2020, the Vaccines and Related Biological Products Advisory
  Committee voted in agreement with this conclusion.

  Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
  Act are met, I am authorizing the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
  prevention of COVID-19, as described in the Scope of Authorization section of this letter
  (Section II) and subject to the terms of this authorization.

  I.     Criteria for Issuance of Authorization

  I have concluded that the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
  prevention of COVID-19 when administered as described in the Scope of Authorization (Section
  II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 25 of 104 Page ID #:25

  Page 3 – Pfizer Inc.


            1. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
               severe respiratory illness, to humans infected by this virus;

            2. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
               that Pfizer-BioNTech COVID‑19 Vaccine may be effective in preventing COVID-19,
               and that, when used under the conditions described in this authorization, the known and
               potential benefits of Pfizer-BioNTech COVID‑19 Vaccine when used to prevent
               COVID-19 outweigh its known and potential risks; and

            3. There is no adequate, approved, and available alternative to the emergency use of
               Pfizer-BioNTech COVID‑19 Vaccine to prevent COVID-19. 4

  II.        Scope of Authorization

  I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
  limited as follows:

                  •    Pfizer Inc. will supply Pfizer-BioNTech COVID‑19 Vaccine either directly or
                       through authorized distributor(s) 5, to emergency response stakeholders 6 as
                       directed by the U.S. government, including the Centers for Disease Control and
                       Prevention (CDC) and/or other designee, for use consistent with the terms and
                       conditions of this EUA;
                  •    The Pfizer-BioNTech COVID‑19 Vaccine covered by this authorization will be
                       administered by vaccination providers 7 and used only to prevent COVID-19 in
                       individuals ages 16 and older; and

  4
      No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
  5
   “Authorized Distributor(s)” are identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
  Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
  distribute authorized Pfizer-BioNTech COVID‑19 Vaccine.
  6
    For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates that
  have legal responsibility and authority for responding to an incident, based on political or geographical boundary
  lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public health
  range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some cases
  (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans), there
  might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
  providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
  official capacity under the authority of the state health department to administer COVID-19 vaccines). In such cases,
  it is expected that the conditions of authorization that apply to emergency response stakeholders and vaccination
  providers will all be met.
  7
    For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
  licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
  professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
  officer) to administer or provide vaccination services in accordance with the applicable emergency response
  stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
  COVID-19 Vaccination Program. For purposes of this letter, “healthcare provider” also refers to a person authorized
  by the U.S. Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 26 of 104 Page ID #:26

  Page 4 – Pfizer Inc.


                •   Pfizer-BioNTech COVID‑19 Vaccine may be administered by a vaccination
                    provider without an individual prescription for each vaccine recipient.

  Product Description

  The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose
  vials; each vial must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP
  prior to use to form the vaccine. The Pfizer-BioNTech COVID-19 Vaccine does not contain a
  preservative.

  Each 0.3 mL dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-
  modified messenger RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.
  Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients:
  lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg
  2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-
  phosphocholine, and 0.2 mg cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic
  potassium phosphate, 0.36 mg sodium chloride, 0.07 mg dibasic sodium phosphate dihydrate,
  and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection) contributes an additional 2.16
  mg sodium chloride per dose.

  The dosing regimen is two doses of 0.3 mL each, 3 weeks apart.

  The manufacture of the authorized Pfizer-BioNTech COVID‑19 Vaccine is limited to those
  facilities identified and agreed upon in Pfizer’s request for authorization.

  The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
  “Emergency Use Authorization.” The Pfizer-BioNTech COVID‑19 Vaccine is authorized to be
  distributed, stored, further redistributed, and administered by emergency response stakeholders
  when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
  fact that the vial and carton labels may not contain information that otherwise would be required
  under the FD&C Act.

  Pfizer-BioNTech COVID‑19 Vaccine is authorized for emergency use with the following
  product-specific information required to be made available to vaccination providers and
  recipients, respectively (referred to as “authorized labeling”):

      •    Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
           Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
           Coronavirus Disease 2019 (COVID-19)


  Countermeasures against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy
  technicians and State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g.,
  HHS. Fourth Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for
  Medical Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9,
  2020).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 27 of 104 Page ID #:27

  Page 5 – Pfizer Inc.


         •   Fact Sheet for Recipients and Caregivers: Emergency Use Authorization (EUA) of
             Pfizer-BioNTech COVID‑19 Vaccine to Prevent Coronavirus Disease 2019 (COVID-19)
             in Individuals 16 Years of Age and Older

  I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
  the known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine, when used to prevent
  COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
  known and potential risks.

  I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
  evidence available to FDA, that it is reasonable to believe that Pfizer-BioNTech COVID‑19
  Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
  Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

  Having reviewed the scientific information available to FDA, including the information
  supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
  COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
  forth in Section 564(c) of the Act concerning safety and potential effectiveness.

  The emergency use of Pfizer-BioNTech COVID‑19 Vaccine under this EUA must be consistent
  with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
  (Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and
  under the circumstances set forth in the Secretary of HHS's determination under Section
  564(b)(1)(C) described above and the Secretary of HHS’s corresponding declaration under Section
  564(b)(1), Pfizer-BioNTech COVID‑19 Vaccine is authorized to prevent COVID-19 in individuals
  16 years of age and older as described in the Scope of Authorization (Section II) under this EUA,
  despite the fact that it does not meet certain requirements otherwise required by applicable federal
  law.

  III.       Conditions of Authorization

  Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

  Pfizer Inc. and Authorized Distributor(s)

               A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
                  BioNTech COVID‑19 Vaccine is distributed, as directed by the U.S. government,
                  including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
                  will be made available to vaccination providers, recipients, and caregivers consistent
                  with the terms of this letter.

               B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
                  chain is maintained until delivered to emergency response stakeholders’ receipt sites.

               C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
                  stakeholders (e.g., emergency response stakeholders, authorized distributors, and
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 28 of 104 Page ID #:28

  Page 6 – Pfizer Inc.


                   vaccination providers) involved in distributing or receiving authorized Pfizer-
                   BioNTech COVID‑19 Vaccine. Pfizer Inc. will provide to all relevant stakeholders a
                   copy of this letter of authorization and communicate any subsequent amendments that
                   might be made to this letter of authorization and its authorized labeling.

              D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
                 video regarding vaccine handling, storage/cold-chain management, preparation,
                 disposal) that are consistent with the authorized emergency use of the vaccine as
                 described in the letter of authorization and authorized labeling, without FDA’s review
                 and concurrence, when necessary to meet public health needs during an emergency.
                 Any instructional and educational materials that are inconsistent with the authorized
                 labeling are prohibited.

              E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
                 Sheets for the Pfizer COVID-19 Vaccine. Any request for changes to this EUA must
                 be submitted to Office of Vaccines Research and Review (OVRR)/Center for
                 Biologics Evaluation and Research (CBER). Such changes require appropriate
                 authorization prior to implementation.8

              F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
                 • Serious adverse events (irrespective of attribution to vaccination);
                 • Cases of Multisystem Inflammatory Syndrome in children and adults; and
                 • Cases of COVID-19 that result in hospitalization or death, that are reported to
                     Pfizer Inc.
                 These reports should be submitted to VAERS as soon as possible but no later than
                 15 calendar days from initial receipt of the information by Pfizer Inc.

              G. Pfizer Inc. must submit to Investigational New Drug application (IND) number
                 19736 periodic safety reports at monthly intervals in accordance with a due date
                 agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER
                 beginning after the first full calendar month after authorization. Each periodic safety
                 report is required to contain descriptive information which includes:
                 • A narrative summary and analysis of adverse events submitted during the
                     reporting interval, including interval and cumulative counts by age groups, special
                     populations (e.g., pregnant women), and adverse events of special interest;
                 • A narrative summary and analysis of vaccine administration errors, whether or
                     not associated with an adverse event, that were identified since the last reporting
                     interval;

  8
    The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
  labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
  fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
  processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
  require data collection or study. For changes to the authorization, including the authorized labeling, of the type
  listed in (3), (6), or (7), review and concurrence is required from the Preparedness and Response Team
  (PREP)/Office of the Center Director (OD)/CBER and the Office of Counterterrorism and Emerging Threats
  (OCET)/Office of the Chief Scientist (OCS).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 29 of 104 Page ID #:29

  Page 7 – Pfizer Inc.


                •  Newly identified safety concerns in the interval; and
                •  Actions taken since the last report because of adverse experiences (for example,
                   changes made to Healthcare Providers Administering Vaccine (Vaccination
                   Providers) Fact Sheet, changes made to studies or studies initiated).
            H. No changes will be implemented to the description of the product, manufacturing
               process, facilities, or equipment without notification to and concurrence by the
               Agency.

            I. All manufacturing facilities will comply with Current Good Manufacturing Practice
               requirements.

            J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
               product lot at least 48 hours prior to vaccine distribution. The CoA will include the
               established specifications and specific results for each quality control test performed
               on the final drug product lot.

            K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports that include a
               listing of all Drug Substance and Drug Product lots produced after issuance of this
               authorization. This report must include lot number, manufacturing site, date of
               manufacture, and lot disposition, including those lots that were quarantined for
               investigation or those lots that were rejected. Information on the reasons for lot
               quarantine or rejection must be included in the report. The first report is due July
               2021.

            L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
               Pfizer-BioNTech COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity,
               release date).

            M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
               records maintained in connection with this EUA.

            N. Pfizer Inc. will conduct post-authorization observational study(ies) to evaluate the
               association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
               adverse events of special interest, along with deaths and hospitalizations, and severe
               COVID-19. The study population should include individuals administered the
               authorized Pfizer-BioNTech COVID-19 Vaccine under this EUA in the general U.S.
               population (16 years of age and older), populations of interest such as healthcare
               workers, pregnant women, immunocompromised individuals, subpopulations with
               specific comorbidities. The study(ies) should be conducted in large scale databases
               with an active comparator. Pfizer Inc. will provide protocols and status update
               reports to the IND 19736 with agreed-upon study designs and milestone dates.

  Emergency Response Stakeholders

            O. Emergency response stakeholders will identify vaccination sites to receive authorized
               Pfizer-BioNTech COVID‑19 Vaccine and ensure its distribution and administration,
               consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 30 of 104 Page ID #:30

  Page 8 – Pfizer Inc.



            P. Emergency response stakeholders will ensure that vaccination providers within their
               jurisdictions are aware of this letter of authorization, and the terms herein and any
               subsequent amendments that might be made to the letter of authorization, instruct
               them about the means through which they are to obtain and administer the vaccine
               under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
               Providers Administering Vaccine (Vaccination Providers) and Fact Sheet for
               Recipients and Caregivers] is made available to vaccination providers through
               appropriate means (e.g., e-mail, website).

            Q. Emergency response stakeholders receiving authorized Pfizer-BioNTech COVID‑19
               Vaccine will ensure that appropriate storage and cold chain is maintained.

  Vaccination Providers

            R. Vaccination providers will administer the vaccine in accordance with the
               authorization and will participate and comply with the terms and training required by
               CDC’s COVID-19 Vaccination Program.

            S. Vaccination providers will provide the Fact Sheet for Recipients and Caregivers to
               each individual receiving vaccination and provide the necessary information for
               receiving their second dose.

            T. Vaccination providers administering Pfizer-BioNTech COVID‑19 Vaccine must
               report the following information associated with the administration of Pfizer-
               BioNTech COVID‑19 Vaccine of which they become aware to VAERS in
               accordance with the Fact Sheet for Healthcare Providers Administering Vaccine
               (Vaccination Providers):
               • Vaccine administration errors whether or not associated with an adverse event
               • Serious adverse events (irrespective of attribution to vaccination)
               • Cases of Multisystem Inflammatory Syndrome in children and adults
               • Cases of COVID-19 that result in hospitalization or death
                Complete and submit reports to VAERS online at
                https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
                words “Pfizer-BioNTech COVID‑19 Vaccine EUA” in the description section of
                the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
                7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
                by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.
            U. Vaccination providers will conduct any follow-up requested by the U.S
               government, including CDC, FDA, or other designee, regarding adverse events to
               the extent feasible given the emergency circumstances.

            V. Vaccination providers will monitor and comply with CDC and/or emergency
               response stakeholder vaccine management requirements (e.g., requirements
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 31 of 104 Page ID #:31

  Page 9 – Pfizer Inc.


                concerning obtaining, tracking, and handling vaccine) and with requirements
                concerning reporting of vaccine administration data to CDC.

            W. Vaccination providers will ensure that any records associated with this EUA are
               maintained until notified by FDA. Such records will be made available to CDC,
               and FDA for inspection upon request.
  Conditions Related to Printed Matter, Advertising, and Promotion

            X. All descriptive printed matter, advertising, and promotional material, relating to the
               use of the Pfizer-BioNTech COVID‑19 Vaccine shall be consistent with the
               authorized labeling, as well as the terms set forth in this EUA, and meet the
               requirements set forth in section 502(a) and (n) of the FD&C Act and FDA
               implementing regulations.

            Y. All descriptive printed matter, advertising, and promotional material relating to the
               use of the Pfizer-BioNTech COVID‑19 Vaccine clearly and conspicuously shall state
               that:
                 • This product has not been approved or licensed by FDA, but has been
                     authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                     Disease 2019 (COVID-19) for use in individuals 16 years of age and older; and
                 • The emergency use of this product is only authorized for the duration of the
                     declaration that circumstances exist justifying the authorization of emergency
                     use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                     declaration is terminated or authorization revoked sooner.

  IV.    Duration of Authorization

  This EUA will be effective until the declaration that circumstances exist justifying the
  authorization of the emergency use of drugs and biological products during the COVID-19
  pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
  564(g) of the Act.

                                                 Sincerely,

                                                         --/S/--

                                                 ____________________________
                                                 RADM Denise M. Hinton
                                                 Chief Scientist
                                                 Food and Drug Administration


  Enclosures
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 32 of 104 Page ID #:32




                          EXHIBIT “B”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 33 of 104 Page ID #:33




                                                                      December 18, 2020

  ModernaTX, Inc.
  Attention: Ms. Carlota Vinals
  200 Technology Square
  Cambridge, MA 02139

  Dear Ms. Vinals:

  This letter is in response to a request from ModernaTX, Inc. that the Food and Drug
  Administration (FDA) issue an Emergency Use Authorization (EUA) for emergency use of
  Moderna COVID‑19 Vaccine for the prevention of Coronavirus Disease 2019 (COVID-19) for
  individuals 18 years of age and older, as described in the Scope of Authorization (Section II) of
  this letter, pursuant to Section 564 of the Federal Food, Drug, and Cosmetic Act (the FD&C Act
  or the Act) (21 U.S.C. 360bbb-3).

  On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Act, the Secretary of the
  Department of Health and Human Services (HHS) determined that there is a public health
  emergency that has a significant potential to affect national security or the health and security of
  United States citizens living abroad, and that involves the virus that causes COVID-19. 1 On the
  basis of such determination, the Secretary of HHS on March 27, 2020, declared that
  circumstances exist justifying the authorization of emergency use of drugs and biological
  products during the COVID-19 pandemic, pursuant to Section 564 of the Act, subject to terms of
  any authorization issued under that section. 2

  Moderna COVID‑19 Vaccine is for use for active immunization to prevent COVID-19 caused by
  severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age
  and older. The vaccine contains a nucleoside-modified messenger RNA encoding the viral spike
  (S) glycoprotein of SARS-CoV-2 formulated in lipid particles. It is an investigational vaccine
  not licensed for any indication.

  FDA reviewed safety and efficacy data from an ongoing phase 3 trial in approximately 30,000
  participants randomized 1:1 to receive Moderna COVID‑19 Vaccine or saline control. The trial
  has enrolled participants 18 years of age and older.



  1
   U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration
  that Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and
  Cosmetic Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
  2
   U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
  Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
  (April 1, 2020).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 34 of 104 Page ID #:34

  Page 2 – ModernaTX, Inc.


  FDA’s review of the available safety data from 30,351 participants 18 years of age and older,
  who were followed for a median of 7 weeks after receiving the second dose, did not identify
  specific safety concerns that would preclude issuance of an EUA. Review of additional safety
  data from these participants with a median of 9 weeks of follow-up after receipt of the second
  dose did not change FDA’s assessment of safety of the vaccine.

  FDA’s analysis of the efficacy data from 28,207 participants 18 years of age and older without
  evidence of SARS-CoV-2 infection prior to dose 1 confirms the vaccine was 94.1% effective
  (95% confidence interval (CI) 89.3, 96.8) in preventing COVID-19 occurring at least 14 days
  after the second dose (with 11 COVID-19 cases in the vaccine group compared to 185 COVID-
  19 cases in the placebo group). In this final scheduled analysis participants had been followed for
  a median of 9 weeks following the second dose. This result is consistent with that obtained from
  an interim analysis of efficacy conducted after these participants had been followed for a median
  of 7 weeks after the second dose (vaccine efficacy 94.5%, 95% CI: 86.5, 97.8).

  Based on the safety and effectiveness data, and review of manufacturing information regarding
  product quality and consistency, it is reasonable to believe that Moderna COVID‑19 Vaccine
  may be effective. Additionally, it is reasonable to conclude, based on the totality of the scientific
  evidence available, that the known and potential benefits of Moderna COVID‑19 Vaccine
  outweigh the known and potential risks of the vaccine, for the prevention of COVID-19 in
  individuals 18 years of age and older. Finally, on December 17, 2020, the Vaccines and Related
  Biological Products Advisory Committee voted in agreement with this conclusion.

  Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
  Act are met, I am authorizing the emergency use of Moderna COVID-19 Vaccine for the
  prevention of COVID-19, as described in the Scope of Authorization section of this letter
  (Section II) and subject to the terms of this authorization.

  I.     Criteria for Issuance of Authorization

  I have concluded that the emergency use of Moderna COVID‑19 Vaccine for the prevention of
  COVID-19 when administered as described in the Scope of Authorization (Section II) meets the
  criteria for issuance of an authorization under Section 564(c) of the Act, because:

        1. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
           severe respiratory illness, to humans infected by this virus;

        2. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
           that Moderna COVID‑19 Vaccine may be effective in preventing COVID-19, and that,
           when used under the conditions described in this authorization, the known and
           potential benefits of Moderna COVID‑19 Vaccine when used to prevent COVID-19
           outweigh its known and potential risks; and
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 35 of 104 Page ID #:35

  Page 3 – ModernaTX, Inc.


            3. There is no adequate, approved, and available alternative to the emergency use of
               Moderna COVID-19 Vaccine to prevent COVID-19. 3

  II.        Scope of Authorization

  I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
  limited as follows:

                  •    ModernaTX, Inc. will supply Moderna COVID‑19 Vaccine either directly or
                       through authorized distributor(s) 4, to emergency response stakeholders 5 as
                       directed by the U.S. government, including the Centers for Disease Control and
                       Prevention (CDC) and/or other designee, for use consistent with the terms and
                       conditions of this EUA;
                  •    The Moderna COVID‑19 Vaccine covered by this authorization will be
                       administered by vaccination providers 6 and used only to prevent COVID-19 in
                       individuals ages 18 and older; and
                  •    The Moderna COVID‑19 Vaccine may be administered by a vaccination provider
                       without an individual prescription for each vaccine recipient.




  3
      No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
  4
   “Authorized Distributor(s)” are identified by ModernaTX, Inc. or, if applicable, by a U.S. government entity, such
  as the Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
  distribute authorized Moderna COVID‑19 Vaccine.
  5
    For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates that
  have legal responsibility and authority for responding to an incident, based on political or geographical boundary
  lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public health
  range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some cases
  (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans), there
  might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
  providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
  official capacity under the authority of the state health department to administer COVID-19 vaccines). In such cases,
  it is expected that the conditions of authorization that apply to emergency response stakeholders and vaccination
  providers will all be met.
  6
    For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
  licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
  professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
  officer) to administer or provide vaccination services in accordance with the applicable emergency response
  stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
  COVID-19 Vaccination Program. For purposes of this letter, “healthcare provider” also refers to a person authorized
  by the U.S. Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical
  Countermeasures against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy
  technicians and State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g.,
  HHS. Fourth Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for
  Medical Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9,
  2020).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 36 of 104 Page ID #:36

  Page 4 – ModernaTX, Inc.


  Product Description

  The Moderna COVID-19 Vaccine is supplied as a frozen suspension in multiple dose vials.. The
  Moderna COVID-19 Vaccine does not contain a preservative.

  Each 0.5 mL dose of the Moderna COVID-19 Vaccine contains 100 mcg of a nucleoside-
  modified messenger RNA encoding the viral spike (S) glycoprotein of SARS-CoV-2. Each dose
  of the Moderna COVID-19 Vaccine also includes the following ingredients: lipids (SM-102; 1,2-
  dimyristoyl-rac-glycero-3-methoxypolyethylene glycol-2000 [PEG2000-DMG]; cholesterol; and
  1,2-distearoyl-sn-glycero-3-phosphocholine [DSPC]), tromethamine, tromethamine
  hydrochloride, acetic acid, sodium acetate, and sucrose.

  The dosing regimen is two doses of 0.5 mL each, one month apart.

  The manufacture of the authorized Moderna COVID‑19 Vaccine is limited to those facilities
  identified and agreed upon in the ModernaTX, Inc. request for authorization.

  The Moderna COVID-19 Vaccine vial label and carton labels are clearly marked for
  “Emergency Use Authorization.” The Moderna COVID‑19 Vaccine is authorized to be
  distributed, stored, further redistributed, and administered by emergency response stakeholders
  when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
  fact that the vial and carton labels may not contain information that otherwise would be required
  under the FD&C Act.

  The Moderna COVID‑19 Vaccine is authorized for emergency use with the following product-
  specific information required to be made available to vaccination providers and recipients,
  respectively (referred to as “authorized labeling”):

      •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
          Emergency Use Authorization (EUA) of the Moderna COVID‑19 Vaccine to Prevent
          Coronavirus Disease 2019 (COVID-19)

      •   Fact Sheet for Recipients and Caregivers: Emergency Use Authorization (EUA) of the
          Moderna COVID‑19 Vaccine to Prevent Coronavirus Disease 2019 (COVID-19) in
          Individuals 18 Years of Age and Older

  I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
  the known and potential benefits of Moderna COVID‑19 Vaccine, when used to prevent
  COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
  known and potential risks.

  I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
  evidence available to FDA, that it is reasonable to believe that Moderna COVID‑19 Vaccine may
  be effective in preventing COVID-19 when used in accordance with this Scope of Authorization
  (Section II), pursuant to Section 564(c)(2)(A) of the Act.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 37 of 104 Page ID #:37

  Page 5 – ModernaTX, Inc.


  Having reviewed the scientific information available to FDA, including the information
  supporting the conclusions described in Section I above, I have concluded that Moderna
  COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
  forth in Section 564(c) of the Act concerning safety and potential effectiveness.

  The emergency use of Moderna COVID‑19 Vaccine under this EUA must be consistent with, and
  may not exceed, the terms of the Authorization, including the Scope of Authorization (Section II)
  and the Conditions of Authorization (Section III). Subject to the terms of this EUA and under the
  circumstances set forth in the Secretary of HHS's determination under Section 564(b)(1)(C)
  described above and the Secretary of HHS’s corresponding declaration under Section 564(b)(1),
  Moderna COVID‑19 Vaccine is authorized to prevent COVID-19 in individuals 18 years of age and
  older as described in the Scope of Authorization (Section II) under this EUA, despite the fact that it
  does not meet certain requirements otherwise required by applicable federal law.

  III.    Conditions of Authorization

  Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

  ModernaTX, Inc. and Authorized Distributor(s)

             A. ModernaTX, Inc. and authorized distributor(s) will ensure that the authorized
                Moderna COVID‑19 Vaccine is distributed, as directed by the U.S. government,
                including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
                will be made available to vaccination providers, recipients, and caregivers consistent
                with the terms of this letter.

             B. ModernaTX, Inc. and authorized distributor(s) will ensure that appropriate storage
                and cold chain is maintained until delivered to emergency response stakeholders’
                receipt sites.

             C. ModernaTX, Inc. will ensure that the terms of this EUA are made available to all
                relevant stakeholders (e.g., emergency response stakeholders, authorized distributors,
                and vaccination providers) involved in distributing or receiving authorized Moderna
                COVID‑19 Vaccine. ModernaTX, Inc. will provide to all relevant stakeholders a
                copy of this letter of authorization and communicate any subsequent amendments that
                might be made to this letter of authorization and its authorized labeling.

             D. ModernaTX, Inc. may develop and disseminate instructional and educational
                materials (e.g., video regarding vaccine handling, storage/cold-chain management,
                preparation, disposal) that are consistent with the authorized emergency use of the
                vaccine as described in the letter of authorization and authorized labeling, without
                FDA’s review and concurrence, when necessary to meet public health needs during
                an emergency. Any instructional and educational materials that are inconsistent with
                the authorized labeling are prohibited.

             E. ModernaTX, Inc. may request changes to this authorization, including to the
                authorized Fact Sheets for Moderna COVID‑19 Vaccine, that do not alter the analysis
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 38 of 104 Page ID #:38

  Page 6 – ModernaTX, Inc.


              of benefits and risks that underlies this authorization and FDA may determine that
              such changes may be permitted without amendment of this EUA. That determination
              must be made by joint decision of the Office of Vaccines Research and Review
              (OVRR)/Center for Biologics Evaluation and Research (CBER), the Preparedness
              and Response Team (PREP)/Office of the Center Director (OD)/CBER, and the
              Office of Counterterrorism and Emerging Threats (OCET)/Office of the Chief
              Scientist/Office of the Commissioner (OCS).

           F. ModernaTX, Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
              • Vaccine administration errors whether or not associated with an adverse event;
              • Serious adverse events (irrespective of attribution to vaccination);
              • Cases of Multisystem Inflammatory Syndrome in adults; and
              • Cases of COVID-19 that result in hospitalization or death, that are reported to
                  ModernaTX, Inc.
              These reports should be submitted to VAERS as soon as possible but no later than
              15 calendar days from initial receipt of the information by ModernaTX, Inc.

           G. ModernaTX, Inc. must submit to Investigational New Drug application (IND) number
              19745 periodic safety reports at monthly intervals, within 15 days after the last day of
              a month, beginning after the first full calendar month after authorization. Each periodic
              safety report is required to contain descriptive information which includes:
              • A narrative summary and analysis of adverse events submitted during the reporting
                  interval, including interval and cumulative counts by age groups, special
                  populations (e.g., pregnant women), and adverse events of special interest.
              • Newly identified safety concerns in the interval; and
              • Actions taken since the last report because of adverse experiences (for example,
                  changes made to Healthcare Providers Administering Vaccine (Vaccination
                  Providers) Fact Sheet, changes made to studies or studies initiated).

           H. No changes will be implemented to the description of the product, manufacturing
              process, facilities, or equipment without notification to and concurrence by the
              Agency.

           I. All manufacturing facilities will comply with Current Good Manufacturing Practice
              requirements.

           J. ModernaTX, Inc. will submit to the EUA file Certificates of Analysis (CoA) for each
              drug product lot at least 48 hours prior to vaccine distribution. The CoA will include
              the established specifications and specific results for each quality control test
              performed on the final drug product lot.

           K. ModernaTX, Inc. will submit to the EUA file quarterly manufacturing reports that
              include a listing of all Drug Substance and Drug Product lots produced after issuance
              of this authorization. This report must include lot number, manufacturing site, date of
              manufacture, and lot disposition, including those lots that were quarantined for
              investigation or those lots that were rejected. Information on the reasons for lot
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 39 of 104 Page ID #:39

  Page 7 – ModernaTX, Inc.


              quarantine or rejection must be included in the report. The first report is due July
              2021.

           L. ModernaTX, Inc. and authorized distributor(s) will maintain records regarding release
              of Moderna COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity, release
              date).

           M. ModernaTX, Inc. and authorized distributor(s) will make available to FDA upon
              request any records maintained in connection with this EUA.

           N. ModernaTX, Inc. will conduct post-authorization observational studies to evaluate
              the association between Moderna COVID-19 Vaccine and a pre-specified list of
              adverse events of special interest, along with deaths and hospitalizations, and severe
              COVID-19. The study population should include individuals administered the
              authorized Moderna COVID-19 Vaccine under this EUA in the general U.S.
              population (18 years of age and older), populations of interest such as healthcare
              workers, pregnant women, immunocompromised individuals, subpopulations with
              specific comorbidities. The studies should be conducted in large scale databases with
              an active comparator. ModernaTX, Inc. will provide protocols and status update
              reports to the IND 19745 with agreed-upon study designs and milestone dates.

           O. ModernaTX, Inc., working with its contract research organization, will continue to
              monitor the performance of its clinical investigators in ongoing clinical studies of its
              vaccine and will report to FDA promptly any significant deviations from the
              protocols.

  Emergency Response Stakeholders

           P. Emergency response stakeholders will identify vaccination sites to receive authorized
              Moderna COVID‑19 Vaccine and ensure its distribution and administration,
              consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.

           Q. Emergency response stakeholders will ensure that vaccination providers within their
              jurisdictions are aware of this letter of authorization, and the terms herein and any
              subsequent amendments that might be made to the letter of authorization, instruct
              them about the means through which they are to obtain and administer the vaccine
              under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
              Providers Administering Vaccine (Vaccination Providers) and Fact Sheet for
              Recipients and Caregivers] is made available to vaccination providers through
              appropriate means (e.g., e-mail, website).

           R. Emergency response stakeholders receiving authorized Moderna COVID‑19 Vaccine
              will ensure that appropriate storage and cold chain is maintained.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 40 of 104 Page ID #:40

  Page 8 – ModernaTX, Inc.


  Vaccination Providers

            S. Vaccination providers will administer the vaccine in accordance with the
               authorization and will participate and comply with the terms and training required by
               CDC’s COVID-19 Vaccination Program.

            T. Vaccination providers will provide the Fact Sheet for Recipients and Caregivers to
               each individual receiving vaccination and provide the necessary information for
               receiving their second dose.

            U. Vaccination providers administering Moderna COVID‑19 Vaccine must report the
               following information associated with the administration of Moderna COVID‑19
               Vaccine of which they become aware to VAERS in accordance with the Fact Sheet
               for Healthcare Providers Administering Vaccine (Vaccination Providers):
               • Vaccine administration errors whether or not associated with an adverse event
               • Serious adverse events (irrespective of attribution to vaccination)
               • Cases of Multisystem Inflammatory Syndrome in adults
               • Cases of COVID-19 that result in hospitalization or death
                Complete and submit reports to VAERS online at
                https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
                words “ Moderna COVID‑19 Vaccine EUA” in the description section of the
                report. More information is available at vaers.hhs.gov or by calling 1-800-822-
                7967. To the extent feasible, report to ModernaTX, Inc., by contacting 1-866-663-
                3762, by providing a copy of the VAERS form to ModernaTX, Inc., Fax: 1-866-
                599-1342 or by email; ModernaPV@modernatx.com.
            V. Vaccination providers will conduct any follow-up requested by the U.S
               government, including CDC, FDA, or other designee, regarding adverse events to
               the extent feasible given the emergency circumstances.

            W. Vaccination providers will monitor and comply with CDC and/or emergency
               response stakeholder vaccine management requirements (e.g., requirements
               concerning obtaining, tracking, and handling vaccine) and with requirements
               concerning reporting of vaccine administration data to CDC.

            X. Vaccination providers will ensure that any records associated with this EUA are
               maintained until notified by FDA. Such records will be made available to CDC
               and FDA for inspection upon request.


  Conditions Related to Printed Matter, Advertising, and Promotion

            Y. All descriptive printed matter, advertising, and promotional material relating to the
               use of the Moderna COVID‑19 Vaccine shall be consistent with the authorized
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 41 of 104 Page ID #:41

  Page 9 – ModernaTX, Inc.


               labeling, as well as the terms set forth in this EUA, and meet the requirements set
               forth in section 502(a) and (n) of the FD&C Act and FDA implementing regulations.

           Z. All descriptive printed matter, advertising, and promotional material relating to the
              use of the Moderna COVID‑19 Vaccine clearly and conspicuously shall state that:
                • This product has not been approved or licensed by FDA, but has been
                    authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                    Disease 2019 (COVID-19) for use in individuals 18 years of age and older; and
                • The emergency use of this product is only authorized for the duration of the
                    declaration that circumstances exist justifying the authorization of emergency
                    use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                    declaration is terminated or authorization revoked sooner.

  IV.    Duration of Authorization

  This EUA will be effective until the declaration that circumstances exist justifying the
  authorization of the emergency use of drugs and biological products during the COVID-19
  pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
  564(g) of the Act.

                                              Sincerely,

                                                      --/S/--
                                              _________________________
                                              RADM Denise M. Hinton
                                              Chief Scientist
                                              Food and Drug Administration


  Enclosures
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 42 of 104 Page ID #:42




                          EXHIBIT “C”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 43 of 104 Page ID #:43




                                                                      February 27, 2021


  Janssen Biotech, Inc.
  Attention: Ms. Ruta Walawalkar
  920 Route 202
  Raritan, NJ 08869

  Dear Ms. Walawalkar:

  This letter is in response to a request from Janssen Biotech, Inc. that the Food and Drug
  Administration (FDA) issue an Emergency Use Authorization (EUA) for emergency use of the
  Janssen COVID‑19 Vaccine for the prevention of Coronavirus Disease 2019 (COVID-19) for
  individuals 18 years of age and older, as described in the Scope of Authorization (Section II) of
  this letter, pursuant to Section 564 of the Federal Food, Drug, and Cosmetic Act (the FD&C Act
  or the Act) (21 U.S.C. 360bbb-3).

  On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Act, the Secretary of the
  Department of Health and Human Services (HHS) determined that there is a public health
  emergency that has a significant potential to affect national security or the health and security of
  United States citizens living abroad, and that involves the virus that causes COVID-19.1 On the
  basis of such determination, the Secretary of HHS on March 27, 2020, declared that
  circumstances exist justifying the authorization of emergency use of drugs and biological
  products during the COVID-19 pandemic, pursuant to Section 564 of the Act, subject to terms of
  any authorization issued under that section.2

  The Janssen COVID‑19 Vaccine is for active immunization to prevent COVID-19 caused by
  severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 18 years of age
  and older. The vaccine contains a recombinant, replication-incompetent human adenovirus
  serotype 26 (Ad26) vector, encoding the SARS-CoV-2 viral spike (S) glycoprotein, stabilized in
  its pre-fusion form. It is an investigational vaccine not licensed for any indication.

  FDA reviewed safety and efficacy data from an ongoing phase 3 trial which has enrolled 43,783
  participants randomized 1:1 to receive Janssen COVID‑19 Vaccine or saline control. The trial
  has enrolled participants 18 years of age and older. FDA’s review has considered the safety and
  effectiveness data as they relate to the request for emergency use authorization. FDA’s review of
  the available safety data from 43,783 participants 18 years of age and older, who were followed
  1
    U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration
  that Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and
  Cosmetic Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
  2
   U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
  Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
  (April 1, 2020).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 44 of 104 Page ID #:44

  Page 2 – Janssen Biotech, Inc.


  for a median duration of eight weeks after receiving the vaccine or placebo, did not identify
  specific safety concerns that would preclude issuance of an EUA. FDA’s analysis of the efficacy
  data from 39,321 participants 18 years of age and older who were SARS-CoV-2 seronegative or
  who had an unknown serostatus at baseline show that the vaccine was 66.9% effective (95%
  confidence interval (CI): 59.0, 73.4) and 66.1% effective (95% CI: 55.0, 74.8) in preventing
  moderate to severe/critical COVID-19 occurring at least 14 days and at least 28 days after
  vaccination, respectively. Based on these data, and review of manufacturing information
  regarding product quality and consistency, it is reasonable to believe that the Janssen COVID‑19
  Vaccine may be effective. Additionally, it is reasonable to conclude, based on the totality of the
  scientific evidence available, that the known and potential benefits of the Janssen COVID‑19
  Vaccine outweigh its known and potential risks, for the prevention of COVID-19 in individuals
  18 years of age and older. Finally, on February 26, 2021, the Vaccines and Related Biological
  Products Advisory Committee voted in agreement with this conclusion.

  Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
  Act are met, I am authorizing the emergency use of the Janssen COVID‑19 Vaccine for the
  prevention of COVID-19, as described in the Scope of Authorization section of this letter
  (Section II) and subject to the terms of this authorization.


  I.         Criteria for Issuance of Authorization

  I have concluded that the emergency use of the Janssen COVID‑19 Vaccine for the prevention of
  COVID-19 when administered as described in the Scope of Authorization (Section II) meets the
  criteria for issuance of an authorization under Section 564(c) of the Act, because:

            1. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
               severe respiratory illness, to humans infected by this virus;

            2. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
               that the Janssen COVID‑19 Vaccine may be effective in preventing COVID-19, and
               that, when used under the conditions described in this authorization, the known and
               potential benefits of the Janssen COVID‑19 Vaccine when used to prevent COVID-19
               outweigh its known and potential risks; and

            3. There is no adequate, approved, and available alternative to the emergency use of the
               Janssen COVID‑19 Vaccine to prevent COVID-19.3


  II.        Scope of Authorization

  I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
  limited as follows:

  3
      No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 45 of 104 Page ID #:45

  Page 3 – Janssen Biotech, Inc.



                •    Janssen Biotech, Inc. will supply the Janssen COVID‑19 Vaccine, either directly
                     or through authorized distributor(s)4 to emergency response stakeholders5 as
                     directed by the U.S. government, including the Centers for Disease Control and
                     Prevention (CDC) and/or other designee, for use consistent with the terms and
                     conditions of this EUA;
                •    The Janssen COVID‑19 Vaccine covered by this authorization will be
                     administered by vaccination providers6 and used only to prevent COVID-19 in
                     individuals ages 18 and older; and
                •    The Janssen COVID‑19 Vaccine may be administered by a vaccination provider
                     without an individual prescription for each vaccine recipient.

  Product Description

  The Janssen COVID-19 Vaccine is supplied as a suspension in multi-dose vials. The Janssen
  COVID-19 Vaccine does not contain a preservative.

  Each 0.5 mL dose of the Janssen COVID-19 Vaccine is formulated to contain 5x1010 virus
  particles of the Ad26 vector encoding the S glycoprotein of SARS-CoV-2. Each dose of the
  Janssen COVID-19 Vaccine also includes the following inactive ingredients 2.19 mg sodium
  chloride, 0.14 mg citric acid monohydrate, 2.02 mg trisodium citrate dihydrate, 0.16 mg


  4
    “Authorized Distributor(s)” are identified by Janssen Biotech, Inc.or, if applicable, by a U.S. government entity,
  such as the Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed
  to distribute authorized Janssen COVID‑19 Vaccine.
  5
    For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates that
  have legal responsibility and authority for responding to an incident, based on political or geographical boundary
  lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public health
  range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some cases
  (e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans), there
  might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
  providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
  official capacity under the authority of the state health department to administer COVID-19 vaccines). In such cases,
  it is expected that the conditions of authorization that apply to emergency response stakeholders and vaccination
  providers will all be met.
  6
    For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
  licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
  professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
  officer) to administer or provide vaccination services in accordance with the applicable emergency response
  stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
  COVID-19 Vaccination Program. For purposes of this letter, “healthcare provider” also refers to a person authorized
  by the U.S. Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical
  Countermeasures against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy
  technicians and State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g.,
  HHS. Fourth Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for
  Medical Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9,
  2020).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 46 of 104 Page ID #:46

  Page 4 – Janssen Biotech, Inc.


  polysorbate-80, 25.5 mg 2-hydroxypropyl--cyclodextrin, 2.04 mg ethanol. Each dose may also
  contain residual amounts of host cell proteins (≤0.15 mcg) and/or host cell DNA (≤3 ng).

  The dosing regimen is a single dose of 0.5 mL

  The manufacture of the authorized Janssen COVID‑19 Vaccine is limited to those facilities
  identified and agreed upon in Janssen’s request for authorization.

  The Janssen COVID-19 Vaccine vial label and carton labels are clearly marked for “Emergency
  Use Authorization.” The Janssen COVID‑19 Vaccine is authorized to be distributed, stored,
  further redistributed, and administered by emergency response stakeholders when packaged in
  the authorized manufacturer packaging (i.e., vials and cartons), despite the fact that the vial and
  carton labels may not contain information that otherwise would be required under the FD&C
  Act.

  The Janssen COVID‑19 Vaccine is authorized for emergency use with the following product-
  specific information required to be made available to vaccination providers and recipients,
  respectively (referred to as “authorized labeling”):

     •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
         Emergency Use Authorization (EUA) of the Janssen COVID‑19 Vaccine to Prevent
         Coronavirus Disease 2019 (COVID-19)

     •   Fact Sheet for Recipients and Caregivers: Emergency Use Authorization (EUA) of the
         Janssen COVID‑19 Vaccine to Prevent Coronavirus Disease 2019 (COVID-19) in
         Individuals 18 Years of Age and Older

  I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
  the known and potential benefits of the Janssen COVID‑19 Vaccine, when used to prevent
  COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
  known and potential risks.

  I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
  evidence available to FDA, that it is reasonable to believe that the Janssen COVID‑19 Vaccine
  may be effective in preventing COVID-19 when used in accordance with this Scope of
  Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

  Having reviewed the scientific information available to FDA, including the information
  supporting the conclusions described in Section I above, I have concluded that the Janssen
  COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
  forth in Section 564(c) of the Act concerning safety and potential effectiveness.

  The emergency use of the Janssen COVID‑19 Vaccine under this EUA must be consistent with, and
  may not exceed, the terms of the Authorization, including the Scope of Authorization (Section II)
  and the Conditions of Authorization (Section III). Subject to the terms of this EUA and under the
  circumstances set forth in the Secretary of HHS's determination under Section 564(b)(1)(C)
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 47 of 104 Page ID #:47

  Page 5 – Janssen Biotech, Inc.


  described above and the Secretary of HHS’s corresponding declaration under Section 564(b)(1), the
  Janssen COVID‑19 Vaccine is authorized to prevent COVID-19 in individuals 18 years of age and
  older as described in the Scope of Authorization (Section II) under this EUA, despite the fact that it
  does not meet certain requirements otherwise required by applicable federal law.


  III.    Conditions of Authorization

  Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

  Janssen Biotech, Inc. and Authorized Distributor(s)

             A. Janssen Biotech, Inc. and authorized distributor(s) will ensure that the authorized
                Janssen COVID‑19 Vaccine is distributed, as directed by the U.S. government,
                including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
                will be made available to vaccination providers, recipients, and caregivers consistent
                with the terms of this letter.

             B. Janssen Biotech, Inc. and authorized distributor(s) will ensure that appropriate storage
                and cold chain is maintained until delivered to emergency response stakeholders’
                receipt sites.

             C. Janssen Biotech, Inc. will ensure that the terms of this EUA are made available to all
                relevant stakeholders (e.g., emergency response stakeholders, authorized distributors,
                and vaccination providers) involved in distributing or receiving the authorized
                Janssen COVID‑19 Vaccine. Janssen Biotech, Inc. will provide to all relevant
                stakeholders a copy of this letter of authorization and communicate any subsequent
                amendments that might be made to this letter of authorization and its authorized
                labeling.

             D. Janssen Biotech, Inc. may develop and disseminate instructional and educational
                materials (e.g., video regarding vaccine handling, storage/cold-chain management,
                preparation, disposal) that are consistent with the authorized emergency use of the
                vaccine as described in the letter of authorization and authorized labeling, without
                FDA’s review and concurrence, when necessary to meet public health needs during
                an emergency. Any instructional and educational materials that are inconsistent with
                the authorized labeling are prohibited.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 48 of 104 Page ID #:48

  Page 6 – Janssen Biotech, Inc.


              E. Janssen Biotech, Inc. may request changes to this authorization, including to the
                 authorized Fact Sheets for the Janssen COVID-19 Vaccine. Any request for changes
                 to this EUA must be submitted to the Office of Vaccines Research and Review
                 (OVRR)/Center for Biologics Evaluation and Research (CBER). Such changes
                 require appropriate authorization prior to implementation.7

              F. Janssen Biotech, Inc. will report to Vaccine Adverse Event Reporting System
                 (VAERS):
                 • Serious adverse events (irrespective of attribution to vaccination);
                 • Cases of Multisystem Inflammatory Syndrome in adults; and
                 • Cases of COVID-19 that result in hospitalization or death, that are reported to
                     Janssen Biotech, Inc.
                 These reports should be submitted to VAERS as soon as possible but no later than
                 15 calendar days from initial receipt of the information by Janssen Biotech, Inc.

              G. Janssen Biotech, Inc. must submit to Investigational New Drug application (IND)
                 number 22657 periodic safety reports at monthly intervals in accordance with a due
                 date agreed upon with the Office of Biostatistics and Epidemiology (OBE)/CBER,
                 beginning after the first full calendar month after authorization. Each periodic safety
                 report is required to contain descriptive information which includes:
                 • A narrative summary and analysis of adverse events submitted during the reporting
                     interval, including interval and cumulative counts by age groups, special
                     populations (e.g., pregnant women), and adverse events of special interest.
                 • A narrative summary and analysis of vaccine administration errors, whether or not
                     associated with an adverse event, that were identified since the last reporting
                     interval
                 • Newly identified safety concerns in the interval; and
                 • Actions taken since the last report because of adverse experiences (for example,
                     changes made to Healthcare Providers Administering Vaccine (Vaccination
                     Providers) Fact Sheet, changes made to studies or studies initiated).

              H. No changes will be implemented to the description of the product, manufacturing
                 process, facilities, or equipment without notification to and concurrence by the
                 Agency.

              I. All manufacturing facilities will comply with Current Good Manufacturing Practice
                 requirements.



  7
    The following types of revisions may be authorized without reissuing this letter: (1) changes to the authorized
  labeling; (2) non-substantive editorial corrections to this letter; (3) new types of authorized labeling, including new
  fact sheets; (4) new carton/container labels; (5) expiration dating extensions; (6) changes to manufacturing
  processes, including tests or other authorized components of manufacturing; (7) new conditions of authorization to
  require data collection or study. All changes to the authorization require review and concurrence from OVRR. For
  changes to the authorization, including the authorized labeling, of the type listed in (3), (6), or (7), review and
  concurrence is also required from the Preparedness and Response Team (PREP)/Office of the Center Director
  (OD)/CBER and the Office of Counterterrorism and Emerging Threats/Office of the Chief Scientist.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 49 of 104 Page ID #:49

  Page 7 – Janssen Biotech, Inc.


            J. Janssen Biotech, Inc. will submit to the EUA file Certificates of Analysis (CoA) for
               each drug product lot at least 48 hours prior to vaccine distribution. The CoA will
               include the established specifications and specific results for each quality control test
               performed on the final drug product lot.

            K. Janssen Biotech, Inc. will submit to the EUA file quarterly manufacturing reports that
               include a listing of all Drug Substance and Drug Product lots produced after issuance
               of this authorization. This report must include lot number, manufacturing site, date of
               manufacture, and lot disposition, including those lots that were quarantined for
               investigation or those lots that were rejected. Information on the reasons for lot
               quarantine or rejection must be included in the report. The first report is due June 1,
               2021.

            L. Janssen Biotech, Inc. and authorized distributor(s) will maintain records regarding
               release of Janssen COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity,
               release date).

            M. Janssen Biotech, Inc. and authorized distributor(s) will make available to FDA upon
               request any records maintained in connection with this EUA.

            N. Janssen Biotech, Inc. will conduct post-authorization observational studies to evaluate
               the association between Janssen COVID-19 Vaccine and a pre-specified list of
               adverse events of special interest, along with deaths and hospitalizations, and severe
               COVID-19. The study population should include individuals administered the
               authorized Janssen COVID-19 Vaccine under this EUA in the general U.S.
               population (18 years of age and older), populations of interest such as healthcare
               workers, pregnant women, immunocompromised individuals, subpopulations with
               specific comorbidities. The studies should be conducted in large scale databases with
               an active comparator. Janssen Biotech, Inc. will provide protocols and status update
               reports to the IND 22657 with agreed-upon study designs and milestone dates.

  Emergency Response Stakeholders

            O. Emergency response stakeholders will identify vaccination sites to receive authorized
               Janssen COVID‑19 Vaccine and ensure its distribution and administration, consistent
               with the terms of this letter and CDC’s COVID-19 Vaccination Program.

            P. Emergency response stakeholders will ensure that vaccination providers within their
               jurisdictions are aware of this letter of authorization, and the terms herein and any
               subsequent amendments that might be made to the letter of authorization, instruct
               them about the means through which they are to obtain and administer the vaccine
               under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
               Providers Administering Vaccine (Vaccination Providers) and Fact Sheet for
               Recipients and Caregivers] is made available to vaccination providers through
               appropriate means (e.g., e-mail, website).
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 50 of 104 Page ID #:50

  Page 8 – Janssen Biotech, Inc.


            Q. Emergency response stakeholders receiving authorized Janssen COVID‑19 Vaccine
               will ensure that appropriate storage and cold chain is maintained.

  Vaccination Providers

            R. Vaccination providers will administer the vaccine in accordance with the
               authorization and will participate and comply with the terms and training required by
               CDC’s COVID-19 Vaccination Program.

            S. Vaccination providers will provide the Fact Sheet for Recipients and Caregivers to
               each individual receiving vaccination.

            T. Vaccination providers administering the Janssen COVID‑19 Vaccine must report the
               following information associated with the administration of the Janssen COVID‑19
               Vaccine of which they become aware to VAERS in accordance with the Fact Sheet
               for Healthcare Providers Administering Vaccine (Vaccination Providers):
               • Vaccine administration errors whether or not associated with an adverse event
               • Serious adverse events (irrespective of attribution to vaccination)
               • Cases of Multisystem Inflammatory Syndrome in adults
               • Cases of COVID-19 that result in hospitalization or death
               Complete and submit reports to VAERS online at
               https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
               words “Janssen COVID‑19 Vaccine EUA” in the description section of the report.
               More information is available at vaers.hhs.gov or by calling 1-800-822-7967. To
               the extent feasible, report to Janssen Biotech, Inc. by contacting 1-800-565-4008
               or by providing a copy of the VAERS form to Janssen Biotech, Inc.; Fax: 215-
               293-9955, or by email JNJvaccineAE@its.jnj.com.
            U. Vaccination providers will conduct any follow-up requested by the U.S.
               government, including CDC, FDA, or other designee, regarding adverse events to
               the extent feasible given the emergency circumstances.

            V. Vaccination providers will monitor and comply with CDC and/or emergency
               response stakeholder vaccine management requirements (e.g., requirements
               concerning obtaining, tracking, and handling vaccine) and with requirements
               concerning reporting of vaccine administration data to CDC.

            W. Vaccination providers will ensure that any records associated with this EUA are
               maintained until notified by FDA. Such records will be made available to CDC,
               and FDA for inspection upon request.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 51 of 104 Page ID #:51

  Page 9 – Janssen Biotech, Inc.



  Conditions Related to Printed Matter, Advertising, and Promotion

            X. All descriptive printed matter, advertising, and promotional material, relating to the
               use of the Janssen COVID‑19 Vaccine shall be consistent with the authorized
               labeling, as well as the terms set forth in this EUA, and meet the requirements set
               forth in section 502(a) and (n) of the FD&C Act and FDA implementing regulations.

            Y. All descriptive printed matter, advertising, and promotional material relating to the
               use of the Janssen COVID‑19 Vaccine clearly and conspicuously shall state that:
                 • This product has not been approved or licensed by FDA, but has been
                     authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                     Disease 2019 (COVID-19) for use in individuals 18 years of age and older; and
                 • The emergency use of this product is only authorized for the duration of the
                     declaration that circumstances exist justifying the authorization of emergency
                     use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                     declaration is terminated or authorization revoked sooner.


  IV.    Duration of Authorization

  This EUA will be effective until the declaration that circumstances exist justifying the
  authorization of the emergency use of drugs and biological products during the COVID-19
  pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
  564(g) of the Act.

                                                Sincerely,



                                                ____________________________
                                                RADM Denise M. Hinton
                                                Chief Scientist
                                                Food and Drug Administration


  Enclosures
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 52 of 104 Page ID #:52




                         EXHIBIT “D”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 53 of 104 Page ID #:53



      FACT SHEET FOR HEALTHCARE PROVIDERS ADMINISTERING VACCINE
                       (VACCINATION PROVIDERS)

                  EMERGENCY USE AUTHORIZATION (EUA) OF
      THE PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS
                         DISEASE 2019 (COVID-19)

    The U.S. Food and Drug Administration (FDA) has issued an Emergency Use
    Authorization (EUA) to permit the emergency use of the unapproved product,
    Pfizer-BioNTech COVID-19 Vaccine, for active immunization to prevent
    COVID-19 in individuals 16 years of age and older.

    SUMMARY OF INSTRUCTIONS FOR COVID-19 VACCINATION PROVIDERS

    Vaccination providers enrolled in the federal COVID-19 Vaccination Program must
    report all vaccine administration errors, all serious adverse events, cases of
    Multisystem Inflammatory Syndrome (MIS) in adults and children, and cases of
    COVID-19 that result in hospitalization or death following administration of
    Pfizer-BioNTech COVID-19 Vaccine. See “MANDATORY REQUIREMENTS FOR
    PFIZER-BIONTECH COVID-19 VACCINE ADMINISTRATION UNDER
    EMERGENCY USE AUTHORIZATION” for reporting requirements.

    The Pfizer-BioNTech COVID-19 Vaccine is a suspension for intramuscular injection
    administered as a series of two doses (0.3 mL each) 3 weeks apart.

    See this Fact Sheet for instructions for preparation and administration. This Fact
    Sheet may have been updated. For the most recent Fact Sheet, please see
    www.cvdvaccine.com.

    For information on clinical trials that are testing the use of the Pfizer-BioNTech
    COVID-19 Vaccine for active immunization against COVID-19, please see
    www.clinicaltrials.gov.

    DESCRIPTION OF COVID-19

    Coronavirus disease 2019 (COVID-19) is an infectious disease caused by the
    novel coronavirus, SARS-CoV-2, that appeared in late 2019. It is predominantly a
    respiratory illness that can affect other organs. People with COVID-19 have
    reported a wide range of symptoms, ranging from mild symptoms to severe illness.
    Symptoms may appear 2 to 14 days after exposure to the virus. Symptoms may
    include: fever or chills; cough; shortness of breath; fatigue; muscle or body aches;
    headache; new loss of taste or smell; sore throat; congestion or runny nose;
    nausea or vomiting; diarrhea.




    Revised: 25 February 2021                                                              1
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 54 of 104 Page ID #:54



    DOSAGE AND ADMINISTRATION

    Storage and Handling

    During storage, minimize exposure to room light, and avoid exposure to direct
    sunlight and ultraviolet light.

    Do not refreeze thawed vials.

    Frozen Vials Prior to Use

    Cartons of Pfizer-BioNTech COVID-19 Vaccine Multiple Dose Vials arrive in
    thermal containers with dry ice. Once received, remove the vial cartons
    immediately from the thermal container and preferably store in an ultra-low
    temperature freezer between -80ºC to -60ºC (-112ºF to -76ºF) until the expiry date
    printed on the label. Alternatively, vials may be stored at -25°C to -15°C (-13°F to
    5°F) for up to 2 weeks. Vials must be kept frozen and protected from light until
    ready to use. Vials stored at -25°C to -15°C (-13°F to 5°F) for up to 2 weeks may
    be returned one time to the recommended storage condition of -80ºC to -60ºC
    (-112ºF to -76ºF). Total cumulative time the vials are stored at -25°C to -15°C
    (-13°F to 5°F) should be tracked and should not exceed 2 weeks.

    If an ultra-low temperature freezer is not available, the thermal container in which
    the Pfizer-BioNTech COVID-19 Vaccine arrives may be used as temporary storage
    when consistently re-filled to the top of the container with dry ice. Refer to the
    re-icing guidelines packed in the original thermal container for instructions
    regarding the use of the thermal container for temporary storage. The thermal
    container maintains a temperature range of -90ºC to -60ºC (-130ºF to -76ºF).
    Storage of the vials between -96°C to -60°C (-141°F to -76°F) is not considered an
    excursion from the recommended storage condition.

    Transportation of Frozen Vials

    If local redistribution is needed and full cartons containing vials cannot be
    transported at -90°C to -60°C (-130°F to -76°F), vials may be transported at -25°C
    to -15°C (-13°F to 5°F). Any hours used for transport at -25°C to -15°C (-13°F to
    5°F) count against the 2-week limit for storage at -25°C to -15°C (-13°F to 5°F).
    Frozen vials transported at -25°C to -15°C (-13°F to 5°F) may be returned one time
    to the recommended storage condition of -80ºC to -60ºC (-112ºF to -76ºF).

    Thawed Vials Before Dilution

    Thawed Under Refrigeration
    Thaw and then store undiluted vials in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)]
    for up to 5 days (120 hours). A carton of 25 vials or 195 vials may take up to 2 or
    3 hours, respectively, to thaw in the refrigerator, whereas a fewer number of vials
    will thaw in less time.


    Revised: 25 February 2021                                                              2
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 55 of 104 Page ID #:55



    Thawed at Room Temperature
    For immediate use, thaw undiluted vials at room temperature [up to 25ºC (77ºF)] for
    30 minutes. Thawed vials can be handled in room light conditions. Vials must reach
    room temperature before dilution.

    Undiluted vials may be stored at room temperature for no more than 2 hours.

    Transportation of Thawed Vials

    Available data support transportation of one or more thawed vials at 2°C to 8°C
    (35°F to 46°F) for up to 12 hours. Any hours used for transport at 2°C to 8°C (35°F
    to 46°F) count against the 120-hour limit for storage at 2°C to 8°C (35°F to 46°F).

    Vials After Dilution

        •   After dilution, store vials between 2°C to 25°C (35°F to 77°F) and use within
            6 hours from the time of dilution.
        •   During storage, minimize exposure to room light, and avoid exposure to
            direct sunlight and ultraviolet light.
        •   Any vaccine remaining in vials must be discarded after 6 hours.
        •   Do not refreeze.

    Dosing and Schedule

    The Pfizer-BioNTech COVID-19 Vaccine is administered intramuscularly as a
    series of two doses (0.3 mL each) 3 weeks apart.

    There are no data available on the interchangeability of the Pfizer-BioNTech
    COVID-19 Vaccine with other COVID-19 vaccines to complete the vaccination
    series. Individuals who have received one dose of Pfizer-BioNTech COVID-19
    Vaccine should receive a second dose of Pfizer-BioNTech COVID-19 Vaccine to
    complete the vaccination series.

    Dose Preparation

    Prior to Dilution
        • The Pfizer-BioNTech COVID-19 Vaccine Multiple Dose Vial contains a
            volume of 0.45 mL, supplied as a frozen suspension that does not contain
            preservative. Each vial must be thawed and diluted prior to administration.
        • Vials may be thawed in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] or at room
            temperature [up to 25ºC (77ºF)] (see Storage and Handling).
        • Refer to thawing instructions in the panels below.

    Dilution
    Dilute the vial contents using 1.8 mL of 0.9% Sodium Chloride Injection, USP (not
    provided) to form the Pfizer-BioNTech COVID-19 Vaccine. ONLY use 0.9% Sodium
    Chloride Injection, USP as the diluent. This diluent is not packaged with the vaccine

    Revised: 25 February 2021                                                               3
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 56 of 104 Page ID #:56



    and must be sourced separately. Do not use bacteriostatic 0.9% Sodium Chloride
    Injection or any other diluent. Do not add more than 1.8 mL of diluent.

    After dilution, one vial contains 6 doses of 0.3 mL. Vial labels and cartons may
    state that after dilution, a vial contains 5 doses of 0.3 mL. The information in this
    Fact Sheet regarding the number of doses per vial after dilution supersedes the
    number of doses stated on vial labels and cartons.

        •   Refer to dilution and dose preparation instructions in the panels below.

     THAWING PRIOR TO DILUTION
                                              •   Thaw vial(s) of Pfizer-BioNTech
                                                  COVID-19 Vaccine before use either
                                                  by:
                                                  o Allowing vial(s) to thaw in the
                                                     refrigerator [2ºC to 8ºC (35ºF to
                                                     46ºF)]. A carton of vials may take up
                                                     to 3 hours to thaw, and thawed vials
                                                     can be stored in the refrigerator for
                                                     up to five days (120 hours).
                                                  o Allowing vial(s) to sit at room
                                                     temperature [up to 25ºC (77ºF)] for
                                                     30 minutes.
                                              •   Using either thawing method, vials
                                                  must reach room temperature before
                                                  dilution and must be diluted within
                                                  2 hours.
                                              •   Before dilution invert vaccine vial
                                                  gently 10 times.
                                              •   Do not shake.
                                              •   Inspect the liquid in the vial prior to
                                                  dilution. The liquid is a white to off-
                                                  white suspension and may contain
                                                  white to off-white opaque amorphous
                                                  particles.
                                              •   Do not use if liquid is discolored or if
                                                  other particles are observed.




    Revised: 25 February 2021                                                                4
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 57 of 104 Page ID #:57




     DILUTION


                                      •   Obtain sterile 0.9% Sodium Chloride
                                          Injection, USP. Use only this as the
                                          diluent.
                                      •   Using aseptic technique, withdraw
                                          1.8 mL of diluent into a transfer syringe
                                          (21-gauge or narrower needle).
                                      •   Cleanse the vaccine vial stopper with a
                                          single-use antiseptic swab.
                                      •   Add 1.8 mL of 0.9% Sodium Chloride
                                          Injection, USP into the vaccine vial.




                                      •   Equalize vial pressure before removing
                                          the needle from the vial by withdrawing
                                          1.8 mL air into the empty diluent
                                          syringe.




                                      •   Gently invert the vial containing the
                                          Pfizer-BioNTech COVID-19 Vaccine
                                          10 times to mix.
                                      •   Do not shake.
                                      •   Inspect the vaccine in the vial.
                                      •   The vaccine will be an off-white
                                          suspension. Do not use if vaccine is
                                          discolored or contains particulate
                                          matter.




    Revised: 25 February 2021                                                         5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 58 of 104 Page ID #:58




                                            •   Record the date and time of dilution on
                                                the Pfizer-BioNTech COVID-19
                                                Vaccine vial label.
                                            •   Store between 2°C to 25°C (35°F to
                                                77°F).
                                            •   Discard any unused vaccine 6 hours
                                                after dilution.




     PREPARATION OF INDIVIDUAL 0.3 mL DOSES OF PFIZER-BIONTECH
     COVID-19 VACCINE
                                            •   Using aseptic technique, cleanse the
                                                vial stopper with a single-use antiseptic
                                                swab, and withdraw 0.3 mL of the
                                                Pfizer-BioNTech COVID-19 Vaccine
                                                preferentially using a low dead-volume
                                                syringe and/or needle.
                                            •   Each dose must contain 0.3 mL of
                                                vaccine.
                                            •   If the amount of vaccine remaining in
                                                the vial cannot provide a full dose of
                                                0.3 mL, discard the vial and any
                                                excess volume.
                                            •   Administer immediately.

    Administration

    Visually inspect each dose in the dosing syringe prior to administration. The
    vaccine will be an off-white suspension. During the visual inspection,
       • verify the final dosing volume of 0.3 mL.
       • confirm there are no particulates and that no discoloration is observed.
       • do not administer if vaccine is discolored or contains particulate matter.

    Administer the Pfizer-BioNTech COVID-19 Vaccine intramuscularly.

    After dilution, vials of Pfizer-BioNTech COVID-19 Vaccine contain six doses of
    0.3 mL of vaccine. Low dead-volume syringes and/or needles can be used to
    extract six doses from a single vial. If standard syringes and needles are used,
    there may not be sufficient volume to extract a sixth dose from a single vial.
    Irrespective of the type of syringe and needle:



    Revised: 25 February 2021                                                               6
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 59 of 104 Page ID #:59




        •   Each dose must contain 0.3 mL of vaccine.
        •   If the amount of vaccine remaining in the vial cannot provide a full dose of
            0.3 mL, discard the vial and content.
        •   Do not pool excess vaccine from multiple vials.

    Contraindications

    Do not administer Pfizer-BioNTech COVID-19 Vaccine to individuals with known
    history of a severe allergic reaction (e.g., anaphylaxis) to any component of the
    Pfizer-BioNTech COVID-19 Vaccine (see Full EUA Prescribing Information).

    Warnings

    Appropriate medical treatment used to manage immediate allergic reactions must
    be immediately available in the event an acute anaphylactic reaction occurs
    following administration of Pfizer-BioNTech COVID-19 Vaccine.

    Monitor Pfizer-BioNTech COVID-19 Vaccine recipients for the occurrence of
    immediate adverse reactions according to the Centers for Disease Control and
    Prevention guidelines (https://www.cdc.gov/vaccines/covid-19/clinical-
    considerations/managing-anaphylaxis.html).

    Immunocompromised persons, including individuals receiving immunosuppressant
    therapy, may have a diminished immune response to the Pfizer-BioNTech
    COVID-19 Vaccine.

    Pfizer-BioNTech COVID-19 Vaccine may not protect all vaccine recipients.

    Adverse Reactions

    Adverse Reactions in Clinical Trials
    Adverse reactions following the Pfizer-BioNTech COVID-19 Vaccine that have
    been reported in clinical trials include injection site pain, fatigue, headache, muscle
    pain, chills, joint pain, fever, injection site swelling, injection site redness, nausea,
    malaise, and lymphadenopathy (see Full EUA Prescribing Information).

    Adverse Reactions in Post Authorization Experience
    Severe allergic reactions, including anaphylaxis, and other hypersensitivity
    reactions (e.g., rash, pruritus, urticaria, angioedema) have been reported following
    administration of the Pfizer-BioNTech COVID-19 Vaccine during mass vaccination
    outside of clinical trials.

    Additional adverse reactions, some of which may be serious, may become
    apparent with more widespread use of the Pfizer-BioNTech COVID-19 Vaccine.




    Revised: 25 February 2021                                                               7
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 60 of 104 Page ID #:60



    Use with Other Vaccines

    There is no information on the co-administration of the Pfizer-BioNTech COVID-19
    Vaccine with other vaccines.

    INFORMATION TO PROVIDE TO VACCINE RECIPIENTS/CAREGIVERS

    As the vaccination provider, you must communicate to the recipient or their
    caregiver, information consistent with the “Fact Sheet for Recipients and
    Caregivers” (and provide a copy or direct the individual to the website
    www.cvdvaccine.com to obtain the Fact Sheet) prior to the individual receiving
    each dose of Pfizer-BioNTech COVID-19 Vaccine, including:
       • FDA has authorized the emergency use of the Pfizer-BioNTech COVID-19
           Vaccine, which is not an FDA-approved vaccine.
       • The recipient or their caregiver has the option to accept or refuse
           Pfizer-BioNTech COVID-19 Vaccine.
       • The significant known and potential risks and benefits of Pfizer-BioNTech
           COVID-19 Vaccine, and the extent to which such risks and benefits are
           unknown.
       • Information about available alternative vaccines and the risks and benefits of
           those alternatives.

    For information on clinical trials that are testing the use of the Pfizer-BioNTech
    COVID-19 Vaccine to prevent COVID-19, please see www.clinicaltrials.gov.

    Provide a vaccination card to the recipient or their caregiver with the date when the
    recipient needs to return for the second dose of Pfizer-BioNTech COVID-19
    Vaccine.

    Provide the v-safe information sheet to vaccine recipients/caregivers and
    encourage vaccine recipients to participate in v-safe. V-safe is a new voluntary
    smartphone-based tool that uses text messaging and web surveys to check in with
    people who have been vaccinated to identify potential side effects after COVID-19
    vaccination. V-safe asks questions that help CDC monitor the safety of COVID-19
    vaccines. V-safe also provides second-dose reminders if needed and live
    telephone follow-up by CDC if participants report a significant health impact
    following COVID-19 vaccination. For more information, visit: www.cdc.gov/vsafe.

    MANDATORY REQUIREMENTS FOR PFIZER-BIONTECH COVID-19 VACCINE
    ADMINISTRATION UNDER EMERGENCY USE AUTHORIZATION

    In order to mitigate the risks of using this unapproved product under EUA and to
    optimize the potential benefit of Pfizer-BioNTech COVID-19 Vaccine, the following
    items are required. Use of unapproved Pfizer-BioNTech COVID-19 Vaccine for
    active immunization to prevent COVID-19 under this EUA is limited to the following
    (all requirements must be met):


    Revised: 25 February 2021                                                            8
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 61 of 104 Page ID #:61



        1. Pfizer-BioNTech COVID-19 Vaccine is authorized for use in individuals
           16 years of age and older.

        2. The vaccination provider must communicate to the individual receiving the
           Pfizer-BioNTech COVID-19 Vaccine or their caregiver, information
           consistent with the “Fact Sheet for Recipients and Caregivers” prior to the
           individual receiving Pfizer-BioNTech COVID-19 Vaccine.

        3. The vaccination provider must include vaccination information in the
           state/local jurisdiction’s Immunization Information System (IIS) or other
           designated system.

        4. The vaccination provider is responsible for mandatory reporting of the
           following to the Vaccine Adverse Event Reporting System (VAERS):
               • vaccine administration errors whether or not associated with an
                  adverse event,
               • serious adverse events* (irrespective of attribution to vaccination),
               • cases of Multisystem Inflammatory Syndrome (MIS) in adults and
                  children, and
               • cases of COVID-19 that result in hospitalization or death.

            Complete and submit reports to VAERS online at
            https://vaers.hhs.gov/reportevent.html. For further assistance with reporting
            to VAERS call 1-800-822-7967. The reports should include the words
            “Pfizer-BioNTech COVID-19 Vaccine EUA” in the description section of the
            report.

        5. The vaccination provider is responsible for responding to FDA requests for
           information about vaccine administration errors, adverse events, cases of
           MIS in adults and children, and cases of COVID-19 that result in
           hospitalization or death following administration of Pfizer-BioNTech
           COVID-19 Vaccine to recipients.

    * Serious adverse events are defined as:
       • Death;
       • A life-threatening adverse event;
       • Inpatient hospitalization or prolongation of existing hospitalization;
       • A persistent or significant incapacity or substantial disruption of the ability to
           conduct normal life functions;
       • A congenital anomaly/birth defect;
       • An important medical event that based on appropriate medical judgement
           may jeopardize the individual and may require medical or surgical
           intervention to prevent one of the outcomes listed above.




    Revised: 25 February 2021                                                                 9
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 62 of 104 Page ID #:62



    OTHER ADVERSE EVENT REPORTING TO VAERS AND PFIZER INC.

    Vaccination providers may report to VAERS other adverse events that are not
    required to be reported using the contact information above.

    To the extent feasible, report adverse events to Pfizer Inc. using the contact
    information below or by providing a copy of the VAERS form to Pfizer Inc.

                    Website                   Fax number           Telephone number

      www.pfizersafetyreporting.com          1-866-635-8337          1-800-438-1985

    ADDITIONAL INFORMATION

    For general questions, visit the website or call the telephone number provided
    below.

    To access the most recent Pfizer-BioNTech COVID-19 Vaccine Fact Sheets,
    please scan the QR code provided below.

                   Global website                           Telephone number

                www.cvdvaccine.com
                                                              1-877-829-2619
                                                             (1-877-VAX-CO19)



    AVAILABLE ALTERNATIVES

    There is no approved alternative vaccine to prevent COVID-19. There may be
    clinical trials or availability under EUA of other COVID-19 vaccines.

    AUTHORITY FOR ISSUANCE OF THE EUA

    The Secretary of Health and Human Services (HHS) has declared a public health
    emergency that justifies the emergency use of drugs and biological products during
    the COVID-19 pandemic. In response, FDA has issued an EUA for the unapproved
    product, Pfizer-BioNTech COVID-19 Vaccine, for active immunization against
    COVID-19 in individuals 16 years of age and older.

    FDA issued this EUA, based on Pfizer-BioNTech’s request and submitted data.

    Although limited scientific information is available, based on the totality of the
    scientific evidence available to date, it is reasonable to believe that the
    Pfizer-BioNTech COVID-19 Vaccine may be effective for the prevention of
    COVID-19 in individuals as specified in the Full EUA Prescribing Information.
    Revised: 25 February 2021                                                            10
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 63 of 104 Page ID #:63




    This EUA for the Pfizer-BioNTech COVID-19 Vaccine will end when the Secretary
    of HHS determines that the circumstances justifying the EUA no longer exist or
    when there is a change in the approval status of the product such that an EUA is
    no longer needed.

    For additional information about Emergency Use Authorization visit FDA at:
    https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-regulatory-
    and-policy-framework/emergency-use-authorization.

    The Countermeasures Injury Compensation Program

    The Countermeasures Injury Compensation Program (CICP) is a federal program
    that has been created to help pay for related costs of medical care and other
    specific expenses to compensate people injured after use of certain medical
    countermeasures. Medical countermeasures are specific vaccines, medications,
    devices, or other items used to prevent, diagnose, or treat the public during a public
    health emergency or a security threat. For more information about CICP regarding
    the Pfizer-BioNTech COVID-19 Vaccine used to prevent COVID-19, visit
    www.hrsa.gov/cicp, email cicp@hrsa.gov, or call: 1-855-266-2427.




    Manufactured by
    Pfizer Inc., New York, NY 10017


    Manufactured for
    BioNTech Manufacturing GmbH
    An der Goldgrube 12
    55131 Mainz, Germany

    LAB-1450-5.4

    Revised: 25 February 2021

                          END SHORT VERSION FACT SHEET
           Long Version (Full EUA Prescribing Information) Begins On Next Page




    Revised: 25 February 2021                                                           11
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 64 of 104 Page ID #:64


FULL EMERGENCY USE
AUTHORIZATION (EUA) PRESCRIBING
INFORMATION

PFIZER-BIONTECH COVID-19 VACCINE
                                                                         8    REQUIREMENTS AND INSTRUCTIONS FOR REPORTING
                                                                              ADVERSE EVENTS AND VACCINE ADMINISTRATION
FULL EMERGENCY USE AUTHORIZATION                                              ERRORS
PRESCRIBING INFORMATION: CONTENTS*                                       10   DRUG INTERACTIONS
                                                                         11   USE IN SPECIFIC POPULATIONS
1   AUTHORIZED USE                                                            11.1 Pregnancy
2   DOSAGE AND ADMINISTRATION                                                 11.2 Lactation
    2.1 Preparation for Administration                                        11.3 Pediatric Use
    2.2 Administration Information                                            11.4 Geriatric Use
    2.3 Vaccination Schedule for Individuals 16 Years of Age and Older   13   DESCRIPTION
3   DOSAGE FORMS AND STRENGTHS                                           14   CLINICAL PHARMACOLOGY
4   CONTRAINDICATIONS                                                         14.1 Mechanism of Action
5   WARNINGS AND PRECAUTIONS                                             18   CLINICAL TRIAL RESULTS AND SUPPORTING DATA FOR
    5.1 Management of Acute Allergic Reactions                                EUA
    5.2 Altered Immunocompetence                                              18.1 Efficacy in Participants 16 Years of Age and Older
    5.3 Limitation of Effectiveness                                      19   HOW SUPPLIED/STORAGE AND HANDLING
6   OVERALL SAFETY SUMMARY                                               20   PATIENT COUNSELING INFORMATION
    6.1 Clinical Trials Experience                                       21   CONTACT INFORMATION
    6.2 Post Authorization Experience
                                                                         * Sections or subsections omitted from the full emergency use authorization
                                                                         prescribing information are not listed.




Revised: 25 February 2021                                                                                                                          12
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 65 of 104 Page ID #:65


FULL EMERGENCY USE AUTHORIZATION (EUA) PRESCRIBING INFORMATION

1         AUTHORIZED USE

Pfizer-BioNTech COVID-19 Vaccine is authorized for use under an Emergency Use Authorization (EUA) for
active immunization to prevent coronavirus disease 2019 (COVID-19) caused by severe acute respiratory
syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age and older.

2         DOSAGE AND ADMINISTRATION

For intramuscular injection only.

2.1       Preparation for Administration

Prior to Dilution

      •   The Pfizer-BioNTech COVID-19 Vaccine Multiple Dose Vial contains a volume of 0.45 mL, supplied
          as a frozen suspension that does not contain preservative. Each vial must be thawed and diluted prior to
          administration.
      •   Vials may be thawed in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] or at room temperature [up to 25ºC
          (77ºF)] [see How Supplied/Storage and Handling (19)].
      •   Refer to thawing instructions in the panels below.

Dilution

      •   Dilute the vial contents using 1.8 mL of 0.9% Sodium Chloride Injection, USP (not provided) to form
          the Pfizer-BioNTech COVID-19 Vaccine. Do not add more than 1.8 mL of diluent.
      •   ONLY use 0.9% Sodium Chloride Injection, USP as the diluent. This diluent is not packaged with the
          vaccine and must be sourced separately. Do not use bacteriostatic 0.9% Sodium Chloride Injection or
          any other diluent.
      •   After dilution, one vial contains 6 doses of 0.3 mL. Vial labels and cartons may state that after dilution,
          a vial contains 5 doses of 0.3 mL. The information in this Full EUA Prescribing Information regarding
          the number of doses per vial after dilution supersedes the number of doses stated on vial labels and
          cartons.
      •   Refer to dilution and dose preparation instructions in the panels below.




Revised: 25 February 2021                                                                                           13
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 66 of 104 Page ID #:66


 THAWING PRIOR TO DILUTION
                                   • Thaw vial(s) of Pfizer-BioNTech COVID-19
                                     Vaccine before use either by:
                                     o Allowing vial(s) to thaw in the refrigerator [2ºC
                                        to 8ºC (35ºF to 46ºF)]. A carton of vials may take
                                        up to 3 hours to thaw, and thawed vials can be
                                        stored in the refrigerator for up to five days
                                        (120 hours).
                                     o Allowing vial(s) to sit at room temperature [up to
                                        25ºC (77ºF)] for 30 minutes.
                                   • Using either thawing method, vials must reach room
                                     temperature before dilution and must be diluted
                                     within 2 hours.




                                   •   Before dilution invert vaccine vial gently 10 times.
                                   •   Do not shake.
                                   •   Inspect the liquid in the vial prior to dilution. The
                                       liquid is a white to off-white suspension and may
                                       contain white to off-white opaque amorphous
                                       particles.
                                   •   Do not use if liquid is discolored or if other particles
                                       are observed.



 DILUTION



                                   •   Obtain sterile 0.9% Sodium Chloride Injection,
                                       USP. Use only this as the diluent.
                                   •   Using aseptic technique, withdraw 1.8 mL of diluent
                                       into a transfer syringe (21-gauge or narrower
                                       needle).
                                   •   Cleanse the vaccine vial stopper with a single-use
                                       antiseptic swab.
                                   •   Add 1.8 mL of 0.9% Sodium Chloride Injection,
                                       USP into the vaccine vial.




Revised: 25 February 2021                                                                         14
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 67 of 104 Page ID #:67




                                   •   Equalize vial pressure before removing the needle
                                       from the vial by withdrawing 1.8 mL air into the
                                       empty diluent syringe.




                                   •   Gently invert the vial containing the
                                       Pfizer-BioNTech COVID-19 Vaccine 10 times to
                                       mix.
                                   •   Do not shake.
                                   •   Inspect the vaccine in the vial.
                                   •   The vaccine will be an off-white suspension. Do not
                                       use if vaccine is discolored or contains particulate
                                       matter.




                                   •   Record the date and time of dilution on the
                                       Pfizer-BioNTech COVID-19 Vaccine vial label.
                                   •   Store between 2°C to 25°C (35°F to 77°F).
                                   •   Discard any unused vaccine 6 hours after dilution.




Revised: 25 February 2021                                                                     15
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 68 of 104 Page ID #:68

 PREPARATION OF INDIVIDUAL 0.3 mL DOSES OF PFIZER-BIONTECH COVID-19
 VACCINE

                                               •   Using aseptic technique, cleanse the vial stopper
                                                   with a single-use antiseptic swab, and withdraw
                                                   0.3 mL of the Pfizer-BioNTech COVID-19 Vaccine
                                                   preferentially using low dead-volume syringes
                                                   and/or needles.
                                               •   Each dose must contain 0.3 mL of vaccine.
                                               •   If the amount of vaccine remaining in the vial
                                                   cannot provide a full dose of 0.3 mL, discard the
                                                   vial and any excess volume.
                                               •   Administer immediately.


2.2       Administration Information

Visually inspect each dose in the dosing syringe prior to administration. The vaccine will be an off-white
suspension. During the visual inspection,
   • verify the final dosing volume of 0.3 mL.
   • confirm there are no particulates and that no discoloration is observed.
   • do not administer if vaccine is discolored or contains particulate matter.

Administer the Pfizer-BioNTech COVID-19 Vaccine intramuscularly.

After dilution, vials of Pfizer-BioNTech COVID-19 Vaccine contain six doses of 0.3 mL of vaccine. Low
dead-volume syringes and/or needles can be used to extract six doses from a single vial. If standard syringes
and needles are used, there may not be sufficient volume to extract a sixth dose from a single vial. Irrespective
of the type of syringe and needle:

      •   Each dose must contain 0.3 mL of vaccine.
      •   If the amount of vaccine remaining in the vial cannot provide a full dose of 0.3 mL, discard the vial and
          any excess volume.
      •   Do not pool excess vaccine from multiple vials.

2.3       Vaccination Schedule for Individuals 16 Years of Age and Older

The Pfizer-BioNTech COVID-19 Vaccine is administered intramuscularly as a series of two doses (0.3 mL
each) three weeks apart.

There are no data available on the interchangeability of the Pfizer-BioNTech COVID-19 Vaccine with other
COVID-19 vaccines to complete the vaccination series. Individuals who have received one dose of
Pfizer-BioNTech COVID-19 Vaccine should receive a second dose of Pfizer-BioNTech COVID-19 Vaccine to
complete the vaccination series.

3         DOSAGE FORMS AND STRENGTHS

Pfizer-BioNTech COVID-19 Vaccine is a suspension for injection. After preparation, a single dose is 0.3 mL.


Revised: 25 February 2021                                                                                         16
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 69 of 104 Page ID #:69

4       CONTRAINDICATIONS

Do not administer Pfizer-BioNTech COVID-19 Vaccine to individuals with known history of a severe allergic
reaction (e.g., anaphylaxis) to any component of the Pfizer-BioNTech COVID-19 Vaccine [see Description
(13)].

5       WARNINGS AND PRECAUTIONS

5.1     Management of Acute Allergic Reactions

Appropriate medical treatment used to manage immediate allergic reactions must be immediately available in
the event an acute anaphylactic reaction occurs following administration of Pfizer-BioNTech COVID-19
Vaccine.

Monitor Pfizer-BioNTech COVID-19 Vaccine recipients for the occurrence of immediate adverse reactions
according to the Centers for Disease Control and Prevention guidelines (https://www.cdc.gov/vaccines/covid-
19/clinical-considerations/managing-anaphylaxis.html).

5.2     Altered Immunocompetence

Immunocompromised persons, including individuals receiving immunosuppressant therapy, may have a
diminished immune response to the Pfizer-BioNTech COVID-19 Vaccine.

5.3     Limitation of Effectiveness

The Pfizer-BioNTech COVID-19 Vaccine may not protect all vaccine recipients.

6       OVERALL SAFETY SUMMARY

It is MANDATORY for vaccination providers to report to the Vaccine Adverse Event Reporting System
(VAERS) all vaccine administration errors, all serious adverse events, cases of Multisystem
Inflammatory Syndrome (MIS) in adults and children, and hospitalized or fatal cases of COVID-19
following vaccination with the Pfizer-BioNTech COVID-19 Vaccine. To the extent feasible, provide a
copy of the VAERS form to Pfizer Inc. Please see the REQUIREMENTS AND INSTRUCTIONS FOR
REPORTING ADVERSE EVENTS AND VACCINE ADMINISTRATION ERRORS section for details
on reporting to VAERS and Pfizer Inc.

In clinical studies, adverse reactions in participants 16 years of age and older included pain at the injection site
(84.1%), fatigue (62.9%), headache (55.1%), muscle pain (38.3%), chills (31.9%), joint pain (23.6%),
fever (14.2%), injection site swelling (10.5%), injection site redness (9.5%), nausea (1.1%), malaise (0.5%), and
lymphadenopathy (0.3%).

Severe allergic reactions, including anaphylaxis, have been reported following the Pfizer-BioNTech COVID-19
Vaccine during mass vaccination outside of clinical trials.

6.1     Clinical Trials Experience

Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the
clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug and may not
reflect the rates observed in practice.

Revised: 25 February 2021                                                                                           17
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 70 of 104 Page ID #:70

The safety of Pfizer-BioNTech COVID-19 Vaccine was evaluated in participants 16 years of age and older in
two clinical studies conducted in the United States, Europe, Turkey, South Africa, and South America.
Study BNT162-01 (Study 1) was a Phase 1/2, two-part, dose-escalation trial that enrolled 60 participants,
18 through 55 years of age. Study C4591001 (Study 2) is a Phase 1/2/3, multicenter, multinational, randomized,
saline placebo-controlled, observer-blind, dose-finding, vaccine candidate-selection (Phase 1) and efficacy
(Phase 2/3) study that has enrolled approximately 44,000 participants, 12 years of age or older. Of these,
approximately 43,448 participants (21,720 Pfizer-BioNTech COVID-19 Vaccine; 21,728 placebo) in Phase 2/3
are 16 years of age or older (including 138 and 145 adolescents 16 and 17 years of age in the vaccine and
placebo groups, respectively).

At the time of the analysis of Study 2 for the EUA, 37,586 (18,801 Pfizer-BioNTech COVID-19 Vaccine and
18,785 placebo) participants 16 years of age or older have been followed for a median of 2 months after the
second dose of Pfizer-BioNTech COVID-19 Vaccine.

The safety evaluation in Study 2 is ongoing. The safety population includes participants enrolled by
October 9, 2020, and includes safety data accrued through November 14, 2020. Participants 18 years and older
in the reactogenicity subset are monitored for solicited local and systemic reactions and use of antipyretic
medication after each vaccination in an electronic diary. Participants are being monitored for unsolicited
adverse events, including serious adverse events, throughout the study [from Dose 1 through 1 month (all
unsolicited adverse events) or 6 months (serious adverse events) after the last vaccination].

Demographic characteristics in Study 2 were generally similar with regard to age, gender, race, and ethnicity
among participants who received Pfizer-BioNTech COVID-19 Vaccine and those who received placebo.
Overall, among the total participants who received either the Pfizer-BioNTech COVID-19 Vaccine or placebo,
50.6% were male and 49.4% were female, 83.1% were White, 9.1% were Black or African American, 28.0%
were Hispanic/Latino, 4.3% were Asian, and 0.5% were American Indian/Alaska Native.

Local and Systemic Adverse Reactions Solicited in the Study 2

Table 1 and Table 2 present the frequency and severity of solicited local and systemic reactions, respectively,
within 7 days following each dose of Pfizer-BioNTech COVID-19 Vaccine and placebo in the subset of
participants 18 to 55 years of age included in the EUA safety population who were monitored for reactogenicity
with an electronic diary.

Table 3 and Table 4 present the frequency and severity of reported solicited local and systemic reactions,
respectively, within 7 days of each dose of Pfizer-BioNTech COVID-19 Vaccine and placebo for participants
56 years of age and older.

Across both age groups, the mean duration of pain at the injection site after Dose 2 was 2.5 days (range 1 to
36 days), for redness 2.6 days (range 1 to 34 days), and for swelling 2.3 days (range 1 to 34 days) for
participants in the Pfizer-BioNTech COVID-19 Vaccine group.

Solicited reactogenicity data in 16 and 17 year-old participants are limited.




Revised: 25 February 2021                                                                                       18
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 71 of 104 Page ID #:71

Table 1: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 18-55 Years of Age‡ –
             Reactogenicity Subset of the Safety Population*
                              Pfizer-BioNTech                    Pfizer-BioNTech
                             COVID-19 Vaccine         Placebo   COVID-19 Vaccine           Placebo
                                    Dose 1             Dose 1           Dose 2             Dose 2
                                   Na=2291            Na=2298          Na=2098            Na=2103
                                    nb (%)             nb (%)           nb (%)             nb (%)
          c
 Redness
    Any (>2 cm)                    104 (4.5)          26 (1.1)         123 (5.9)           14 (0.7)
       Mild                         70 (3.1)          16 (0.7)          73 (3.5)            8 (0.4)
       Moderate                     28 (1.2)           6 (0.3)          40 (1.9)            6 (0.3)
       Severe                        6 (0.3)           4 (0.2)          10 (0.5)            0 (0.0)
           c
 Swelling
    Any (>2 cm)                    132 (5.8)          11 (0.5)         132 (6.3)            5 (0.2)
       Mild                         88 (3.8)           3 (0.1)          80 (3.8)            3 (0.1)
       Moderate                     39 (1.7)           5 (0.2)          45 (2.1)            2 (0.1)
       Severe                        5 (0.2)           3 (0.1)           7 (0.3)            0 (0.0)
                           d
 Pain at the injection site
    Any                          1904 (83.1)         322 (14.0)      1632 (77.8)         245 (11.7)
       Mild                      1170 (51.1)         308 (13.4)      1039 (49.5)         225 (10.7)
       Moderate                   710 (31.0)          12 (0.5)        568 (27.1)           20 (1.0)
       Severe                       24 (1.0)           2 (0.1)          25 (1.2)            0 (0.0)
 Note: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
 a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose.
 b. n = Number of participants with the specified reaction.
 c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
 d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.
 ‡ Eight participants were between 16 and 17 years of age.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.

Table 2: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
           Maximum Severity, Within 7 Days After Each Dose – Participants 18-55 Years of Age‡ –
           Safety Population*
                          Pfizer-BioNTech                       Pfizer-BioNTech
                        COVID-19 Vaccine        Placebo        COVID-19 Vaccine          Placebo
                                Dose 1           Dose 1               Dose 2              Dose 2
                               Na=2291          Na=2298              Na=2098             Na=2103
                                nb (%)           nb (%)               nb (%)              nb (%)
 Fever
    ≥38.0℃                     85 (3.7)          20 (0.9)           331 (15.8)           10 (0.5)
    ≥38.0℃ to 38.4℃            64 (2.8)          10 (0.4)            194 (9.2)            5 (0.2)
    >38.4℃ to 38.9℃            15 (0.7)           5 (0.2)            110 (5.2)            3 (0.1)
    >38.9℃ to 40.0℃             6 (0.3)           3 (0.1)             26 (1.2)            2 (0.1)
    >40.0℃                      0 (0.0)           2 (0.1)              1 (0.0)            0 (0.0)
         c
 Fatigue
    Any                      1085 (47.4)       767 (33.4)          1247 (59.4)          479 (22.8)
       Mild                   597 (26.1)       467 (20.3)           442 (21.1)          248 (11.8)
       Moderate               455 (19.9)       289 (12.6)           708 (33.7)          217 (10.3)
       Severe                  33 (1.4)          11 (0.5)             97 (4.6)           14 (0.7)

Revised: 25 February 2021                                                                                                     19
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 72 of 104 Page ID #:72

                                Pfizer-BioNTech                                      Pfizer-BioNTech
                               COVID-19 Vaccine                  Placebo            COVID-19 Vaccine                  Placebo
                                     Dose 1                       Dose 1                  Dose 2                       Dose 2
                                    Na=2291                      Na=2298                 Na=2098                      Na=2103
                                     nb (%)                       nb (%)                  nb (%)                       nb (%)
 Headachec
     Any                             959 (41.9)                 775 (33.7)                1085 (51.7)                506 (24.1)
        Mild                         628 (27.4)                 505 (22.0)                 538 (25.6)                321 (15.3)
        Moderate                     308 (13.4)                 251 (10.9)                 480 (22.9)                 170 (8.1)
        Severe                        23 (1.0)                   19 (0.8)                   67 (3.2)                  15 (0.7)
        c
 Chills
     Any                             321 (14.0)                  146 (6.4)                 737 (35.1)                 79 (3.8)
        Mild                         230 (10.0)                  111 (4.8)                 359 (17.1)                 65 (3.1)
        Moderate                      82 (3.6)                    33 (1.4)                 333 (15.9)                 14 (0.7)
        Severe                         9 (0.4)                     2 (0.1)                  45 (2.1)                  0 (0.0)
 Vomitingd
     Any                              28 (1.2)                    28 (1.2)                  40 (1.9)                  25 (1.2)
        Mild                          24 (1.0)                    22 (1.0)                  28 (1.3)                  16 (0.8)
        Moderate                       4 (0.2)                     5 (0.2)                   8 (0.4)                  9 (0.4)
        Severe                         0 (0.0)                     1 (0.0)                   4 (0.2)                  0 (0.0)
 Diarrheae
     Any                             255 (11.1)                 270 (11.7)                 219 (10.4)                 177 (8.4)
        Mild                          206 (9.0)                  217 (9.4)                  179 (8.5)                 144 (6.8)
        Moderate                       46 (2.0)                   52 (2.3)                   36 (1.7)                 32 (1.5)
        Severe                          3 (0.1)                    1 (0.0)                    4 (0.2)                  1 (0.0)
 New or worsened
 muscle painc
     Any                             487 (21.3)                 249 (10.8)                 783 (37.3)                 173 (8.2)
        Mild                         256 (11.2)                  175 (7.6)                 326 (15.5)                 111 (5.3)
        Moderate                      218 (9.5)                   72 (3.1)                 410 (19.5)                 59 (2.8)
        Severe                         13 (0.6)                    2 (0.1)                  47 (2.2)                   3 (0.1)
 New or worsened
 joint painc
     Any                             251 (11.0)                  138 (6.0)                 459 (21.9)                 109 (5.2)
        Mild                          147 (6.4)                   95 (4.1)                  205 (9.8)                 54 (2.6)
        Moderate                       99 (4.3)                   43 (1.9)                 234 (11.2)                 51 (2.4)
        Severe                          5 (0.2)                    0 (0.0)                   20 (1.0)                  4 (0.2)
 Use of antipyretic or
 pain medicationf                    638 (27.8)                 332 (14.4)                 945 (45.0)                266 (12.6)
 Note: Events and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
 each dose.
 a. N = Number of participants reporting at least 1 yes or no response for the specified event after the specified dose.
 b. n = Number of participants with the specified reaction.
 c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity.
 d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration.
 e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours.
 f. Severity was not collected for use of antipyretic or pain medication.
 ‡ Eight participants were between 16 and 17 years of age.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.




Revised: 25 February 2021                                                                                                            20
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 73 of 104 Page ID #:73

Table 3: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
             Older – Safety Population*
                             Pfizer-BioNTech                       Pfizer-BioNTech
                           COVID-19 Vaccine         Placebo      COVID-19 Vaccine          Placebo
                                   Dose 1           Dose 1               Dose 2             Dose 2
                                  Na=1802          Na=1792              Na=1660           Na=1646
                                   nb (%)           nb (%)               nb (%)             nb (%)
          c
 Redness
     Any (>2 cm)                   85 (4.7)         19 (1.1)            120 (7.2)          12 (0.7)
       Mild                        55 (3.1)         12 (0.7)             59 (3.6)           8 (0.5)
       Moderate                    27 (1.5)          5 (0.3)             53 (3.2)           3 (0.2)
       Severe                       3 (0.2)          2 (0.1)              8 (0.5)           1 (0.1)
           c
 Swelling
     Any (>2 cm)                  118 (6.5)         21 (1.2)            124 (7.5)          11 (0.7)
       Mild                        71 (3.9)         10 (0.6)             68 (4.1)           5 (0.3)
       Moderate                    45 (2.5)         11 (0.6)             53 (3.2)           5 (0.3)
       Severe                       2 (0.1)          0 (0.0)              3 (0.2)           1 (0.1)
 Pain at the injection
 sited
     Any (>2 cm)                1282 (71.1)        166 (9.3)          1098 (66.1)         127 (7.7)
       Mild                     1008 (55.9)        160 (8.9)           792 (47.7)         125 (7.6)
       Moderate                  270 (15.0)          6 (0.3)           298 (18.0)           2 (0.1)
       Severe                       4 (0.2)          0 (0.0)              8 (0.5)           0 (0.0)
 Note: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
 a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose.
 b. n = Number of participants with the specified reaction.
 c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
 d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.

Table 4: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
           Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
           Older – Reactogenicity Subset of the Safety Population*
                                                                   Pfizer-BioNTech
                           Pfizer-BioNTech                            COVID-19
                         COVID-19 Vaccine            Placebo            Vaccine          Placebo
                                 Dose 1               Dose 1             Dose 2           Dose 2
                                Na=1802              Na=1792            Na=1660          Na=1646
                                 nb (%)               nb (%)             nb (%)           nb (%)
 Fever
    ≥38.0℃                      26 (1.4)              7 (0.4)          181 (10.9)         4 (0.2)
    ≥38.0℃ to 38.4℃             23 (1.3)              2 (0.1)           131 (7.9)         2 (0.1)
    >38.4℃ to 38.9℃              1 (0.1)              3 (0.2)            45 (2.7)         1 (0.1)
    >38.9℃ to 40.0℃              1 (0.1)              2 (0.1)             5 (0.3)         1 (0.1)
    >40.0℃                       1 (0.1)              0 (0.0)             0 (0.0)         0 (0.0)
         c
 Fatigue
    Any                        615 (34.1)           405 (22.6)         839 (50.5)       277 (16.8)
       Mild                    373 (20.7)           252 (14.1)         351 (21.1)        161 (9.8)
       Moderate                240 (13.3)            150 (8.4)         442 (26.6)        114 (6.9)
       Severe                    2 (0.1)              3 (0.2)            46 (2.8)         2 (0.1)
Revised: 25 February 2021                                                                                                     21
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 74 of 104 Page ID #:74

                                                                                       Pfizer-BioNTech
                                  Pfizer-BioNTech                                         COVID-19
                                 COVID-19 Vaccine                  Placebo                  Vaccine                   Placebo
                                       Dose 1                       Dose 1                  Dose 2                     Dose 2
                                      Na=1802                      Na=1792                 Na=1660                    Na=1646
                                       nb (%)                       nb (%)                  nb (%)                     nb (%)
 Headachec
    Any                                454 (25.2)                 325 (18.1)                647 (39.0)               229 (13.9)
       Mild                            348 (19.3)                 242 (13.5)                422 (25.4)               165 (10.0)
       Moderate                         104 (5.8)                  80 (4.5)                 216 (13.0)                60 (3.6)
       Severe                            2 (0.1)                    3 (0.2)                   9 (0.5)                  4 (0.2)
 Chillsc
    Any                                 113 (6.3)                   57 (3.2)                377 (22.7)                46 (2.8)
       Mild                              87 (4.8)                   40 (2.2)                199 (12.0)                35 (2.1)
       Moderate                          26 (1.4)                   16 (0.9)                 161 (9.7)                11 (0.7)
       Severe                             0 (0.0)                    1 (0.1)                  17 (1.0)                 0 (0.0)
 Vomitingd
    Any                                  9 (0.5)                    9 (0.5)                  11 (0.7)                  5 (0.3)
       Mild                              8 (0.4)                    9 (0.5)                   9 (0.5)                  5 (0.3)
       Moderate                          1 (0.1)                    0 (0.0)                   1 (0.1)                  0 (0.0)
       Severe                            0 (0.0)                    0 (0.0)                   1 (0.1)                  0 (0.0)
 Diarrheae
    Any                                 147 (8.2)                  118 (6.6)                 137 (8.3)                99 (6.0)
       Mild                             118 (6.5)                  100 (5.6)                 114 (6.9)                73 (4.4)
       Moderate                          26 (1.4)                   17 (0.9)                  21 (1.3)                22 (1.3)
       Severe                             3 (0.2)                    1 (0.1)                   2 (0.1)                 4 (0.2)
 New or worsened
 muscle painc
    Any                                251 (13.9)                  149 (8.3)                477 (28.7)                87 (5.3)
       Mild                             168 (9.3)                  100 (5.6)                202 (12.2)                57 (3.5)
       Moderate                          82 (4.6)                   46 (2.6)                259 (15.6)                29 (1.8)
       Severe                             1 (0.1)                    3 (0.2)                 16 (1.0)                  1 (0.1)
 New or worsened joint
 painc
    Any                                 155 (8.6)                  109 (6.1)                313 (18.9)                61 (3.7)
       Mild                             101 (5.6)                   68 (3.8)                 161 (9.7)                35 (2.1)
       Moderate                          52 (2.9)                   40 (2.2)                 145 (8.7)                25 (1.5)
       Severe                             2 (0.1)                    1 (0.1)                  7 (0.4)                  1 (0.1)
 Use of antipyretic or
 pain medication                       358 (19.9)                 213 (11.9)                625 (37.7)                161 (9.8)
 Note: Events and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
 each dose.
 a. N = Number of participants reporting at least 1 yes or no response for the specified event after the specified dose.
 b. n = Number of participants with the specified reaction.
 c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity.
 d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration.
 e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention.




Revised: 25 February 2021                                                                                                            22
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 75 of 104 Page ID #:75

Unsolicited Adverse Events

Serious Adverse Events

In Study 2, among participants 16 to 55 years of age who had received at least 1 dose of vaccine or placebo
(Pfizer-BioNTech COVID-19 Vaccine = 10,841; placebo = 10,851), serious adverse events from Dose 1
through up to 30 days after Dose 2 in ongoing follow-up were reported by 0.4% of Pfizer-BioNTech COVID-19
Vaccine recipients and by 0.3% of placebo recipients. In a similar analysis, in participants 56 years of age and
older (Pfizer-BioNTech COVID-19 Vaccine = 7960, placebo = 7934), serious adverse events were reported by
0.8% of Pfizer-BioNTech COVID-19 Vaccine recipients and by 0.6% of placebo recipients who received at
least 1 dose of Pfizer-BioNTech COVID-19 Vaccine or placebo, respectively. In these analyses, 91.6% of study
participants had at least 30 days of follow-up after Dose 2. Appendicitis was reported as a serious adverse event
for 12 participants, and numerically higher in the vaccine group, 8 vaccine participants and 4 placebo
participants. Currently available information is insufficient to determine a causal relationship with the vaccine.
There were no other notable patterns or numerical imbalances between treatment groups for specific categories
of serious adverse events (including neurologic, neuro-inflammatory, and thrombotic events) that would suggest
a causal relationship to Pfizer-BioNTech COVID-19 Vaccine.

Non-Serious Adverse Events

Overall in Study 2 in which 10,841 participants 16 to 55 years of age received Pfizer-BioNTech COVID-19
Vaccine and 10,851 participants received placebo, non-serious adverse events from Dose 1 through up to
30 days after Dose 2 in ongoing follow-up were reported in 29.3% of participants who received
Pfizer-BioNTech COVID-19 Vaccine and 13.2% of participants in the placebo group, for participants who
received at least 1 dose. Overall in a similar analysis in which 7960 participants 56 years of age and older
received Pfizer-BioNTech COVID-19 Vaccine, non-serious adverse events within 30 days were reported in
23.8% of participants who received Pfizer-BioNTech COVID-19 Vaccine and 11.7% of participants in the
placebo group, for participants who received at least 1 dose. In these analyses, 91.6% of study participants had
at least 30 days of follow-up after Dose 2. The higher frequency of reported unsolicited non-serious adverse
events among Pfizer BioNTech COVID-19 Vaccine recipients compared to placebo recipients was primarily
attributed to local and systemic adverse events reported during the first 7 days following vaccination that are
consistent with adverse reactions solicited among participants in the reactogenicity subset and presented in
Tables 3 and 4. From Dose 1 through 30 days after Dose 2, reports of lymphadenopathy were imbalanced with
notably more cases in the Pfizer-BioNTech COVID-19 Vaccine group (64) vs. the placebo group (6), which is
plausibly related to vaccination. Throughout the safety follow-up period to date, Bell’s palsy (facial paralysis)
was reported by four participants in the Pfizer-BioNTech COVID-19 Vaccine group. Onset of facial paralysis
was Day 37 after Dose 1 (participant did not receive Dose 2) and Days 3, 9, and 48 after Dose 2. No cases of
Bell’s palsy were reported in the placebo group. Currently available information is insufficient to determine a
causal relationship with the vaccine. There were no other notable patterns or numerical imbalances between
treatment groups for specific categories of non-serious adverse events (including other neurologic or neuro-
inflammatory, and thrombotic events) that would suggest a causal relationship to Pfizer-BioNTech COVID-19
Vaccine.

6.2     Post Authorization Experience

The following adverse reactions have been identified during post authorization use of Pfizer-BioNTech
COVID-19 Vaccine. Because these reactions are reported voluntarily, it is not always possible to reliably
estimate their frequency or establish a causal relationship to vaccine exposure.

Immune System Disorders: severe allergic reactions, including anaphylaxis, and other hypersensitivity reactions
(e.g., rash, pruritus, urticaria, angioedema)
Revised: 25 February 2021                                                                                       23
       Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 76 of 104 Page ID #:76


8       REQUIREMENTS AND INSTRUCTIONS FOR REPORTING ADVERSE EVENTS AND
        VACCINE ADMINISTRATION ERRORS

See Overall Safety Summary (Section 6) for additional information.

The vaccination provider enrolled in the federal COVID-19 Vaccination Program is responsible for
MANDATORY reporting of the listed events following Pfizer-BioNTech COVID-19 Vaccine to the Vaccine
Adverse Event Reporting System (VAERS):
    • Vaccine administration errors whether or not associated with an adverse event
    • Serious adverse events* (irrespective of attribution to vaccination)
    • Cases of Multisystem Inflammatory Syndrome (MIS) in children and adults
    • Cases of COVID-19 that result in hospitalization or death
*
    Serious adverse events are defined as:
        • Death
        • A life-threatening adverse event
        • Inpatient hospitalization or prolongation of existing hospitalization
        • A persistent or significant incapacity or substantial disruption of the ability to conduct normal life
           functions
        • A congenital anomaly/birth defect
        • An important medical event that based on appropriate medical judgement may jeopardize the individual
           and may require medical or surgical intervention to prevent one of the outcomes listed above

Instructions for Reporting to VAERS

The vaccination provider enrolled in the federal COVID-19 Vaccination Program should complete and submit a
VAERS form to FDA using one of the following methods:
    • Complete and submit the report online: https://vaers.hhs.gov/reportevent.html, or
    • If you are unable to submit this form electronically, you may fax it to VAERS at 1-877-721-0366. If
       you need additional help submitting a report you may call the VAERS toll-free information line at
       1-800-822-7967 or send an email to info@vaers.org.

IMPORTANT: When reporting adverse events or vaccine administration errors to VAERS, please
complete the entire form with detailed information. It is important that the information reported to FDA
be as detailed and complete as possible. Information to include:
    • Patient demographics (e.g., patient name, date of birth)
    • Pertinent medical history
    • Pertinent details regarding admission and course of illness
    • Concomitant medications
    • Timing of adverse event(s) in relationship to administration of the Pfizer-BioNTech COVID-19
        Vaccine
    • Pertinent laboratory and virology information
    • Outcome of the event and any additional follow-up information if it is available at the time of the
        VAERS report. Subsequent reporting of follow-up information should be completed if additional
        details become available.




Revised: 25 February 2021                                                                                     24
       Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 77 of 104 Page ID #:77

The following steps are highlighted to provide the necessary information for safety tracking:
   1. In Box 17, provide information on Pfizer-BioNTech COVID-19 Vaccine and any other vaccines
       administered on the same day; and in Box 22, provide information on any other vaccines received within
       one month prior.
   2. In Box 18, description of the event:
          a. Write “Pfizer-BioNTech COVID-19 Vaccine EUA” as the first line.
          b. Provide a detailed report of vaccine administration error and/or adverse event. It is important to
              provide detailed information regarding the patient and adverse event/medication error for
              ongoing safety evaluation of this unapproved vaccine. Please see information to include listed
              above.
   3. Contact information:
          a. In Box 13, provide the name and contact information of the prescribing healthcare provider or
              institutional designee who is responsible for the report.
          b. In Box 14, provide the name and contact information of the best doctor/healthcare professional
              to contact about the adverse event.
          c. In Box 15, provide the address of the facility where vaccine was given (NOT the healthcare
              provider’s office address).

Other Reporting Instructions

Vaccination providers may report to VAERS other adverse events that are not required to be reported using the
contact information above.

To the extent feasible, report adverse events to Pfizer Inc. using the contact information below or by providing a
copy of the VAERS form to Pfizer Inc.

              Website                        Fax number                 Telephone number

 www.pfizersafetyreporting.com             1-866-635-8337                 1-800-438-1985

10       DRUG INTERACTIONS

There are no data to assess the concomitant administration of the Pfizer-BioNTech COVID-19 Vaccine with
other vaccines.

11       USE IN SPECIFIC POPULATIONS

11.1     Pregnancy

Risk Summary

All pregnancies have a risk of birth defect, loss, or other adverse outcomes. In the US general population, the
estimated background risk of major birth defects and miscarriage in clinically recognized pregnancies is 2% to
4% and 15% to 20%, respectively. Available data on Pfizer-BioNTech COVID-19 Vaccine administered to
pregnant women are insufficient to inform vaccine-associated risks in pregnancy.

In a reproductive and developmental toxicity study, 0.06 mL of a vaccine formulation containing the same
quantity of nucleoside-modified messenger ribonucleic acid (mRNA) (30 mcg) and other ingredients included
in a single human dose of Pfizer-BioNTech COVID-19 Vaccine was administered to female rats by the
intramuscular route on four occasions: 21 and 14 days prior to mating, and on gestation days 9 and 20. No
Revised: 25 February 2021                                                                                       25
       Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 78 of 104 Page ID #:78

vaccine-related adverse effects on female fertility, fetal development, or postnatal development were reported in
the study.

11.2     Lactation

Risk Summary

Data are not available to assess the effects of Pfizer-BioNTech COVID-19 Vaccine on the breastfed infant or on
milk production/excretion.

11.3     Pediatric Use

Emergency Use Authorization of Pfizer-BioNTech COVID-19 Vaccine in adolescents 16 and 17 years of age is
based on extrapolation of safety and effectiveness from adults 18 years of age and older. Emergency Use
Authorization of Pfizer BioNTech COVID-19 Vaccine does not include use in individuals younger than
16 years of age.

11.4     Geriatric Use

Clinical studies of Pfizer-BioNTech COVID-19 Vaccine include participants 65 years of age and older and their
data contributes to the overall assessment of safety and efficacy [see Overall Safety Summary (6.1) and Clinical
Trial Results and Supporting Data for EUA (18.1)]. Of the total number of Pfizer-BioNTech COVID-19
Vaccine recipients in Study 2 (N=20,033), 21.4% (n=4,294) were 65 years of age and older and 4.3% (n=860)
were 75 years of age and older.

13       DESCRIPTION

The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose vials; each vial
must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP prior to use to form the vaccine.
Each dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-modified messenger
RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.

Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients: lipids (0.43 mg
(4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg 2[(polyethylene glycol)-2000]-
N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.2 mg cholesterol),
0.01 mg potassium chloride, 0.01 mg monobasic potassium phosphate, 0.36 mg sodium chloride, 0.07 mg
dibasic sodium phosphate dihydrate, and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection, USP)
contributes an additional 2.16 mg sodium chloride per dose.

The Pfizer-BioNTech COVID-19 Vaccine does not contain preservative. The vial stoppers are not made with
natural rubber latex.

14       CLINICAL PHARMACOLOGY

14.1     Mechanism of Action

The modRNA in the Pfizer-BioNTech COVID-19 Vaccine is formulated in lipid particles, which enable
delivery of the RNA into host cells to allow expression of the SARS-CoV-2 S antigen. The vaccine elicits an
immune response to the S antigen, which protects against COVID-19.


Revised: 25 February 2021                                                                                      26
       Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 79 of 104 Page ID #:79

18       CLINICAL TRIAL RESULTS AND SUPPORTING DATA FOR EUA

18.1     Efficacy in Participants 16 Years of Age and Older

Study 2 is a multicenter, multinational, Phase 1/2/3, randomized, placebo-controlled, observer-blind,
dose-finding, vaccine candidate–selection, and efficacy study in participants 12 years of age and older.
Randomization was stratified by age: 12 through 15 years of age, 16 through 55 years of age, or 56 years of age
and older, with a minimum of 40% of participants in the ≥56-year stratum. The study excluded participants who
were immunocompromised and those who had previous clinical or microbiological diagnosis of COVID-19.
Participants with preexisting stable disease, defined as disease not requiring significant change in therapy or
hospitalization for worsening disease during the 6 weeks before enrollment, were included as were participants
with known stable infection with human immunodeficiency virus (HIV), hepatitis C virus (HCV), or hepatitis B
virus (HBV).

In the Phase 2/3 portion approximately 44,000 participants 12 years of age and older were randomized equally
and received 2 doses of Pfizer-BioNTech COVID-19 Vaccine or placebo separated by 21 days. Participants are
planned to be followed for up to 24 months, for assessments of safety and efficacy against COVID-19.

The population for the analysis of the primary efficacy endpoint included, 36,621 participants 12 years of age
and older (18,242 in the Pfizer-BioNTech COVID-19 Vaccine group and 18,379 in the placebo group) who did
not have evidence of prior infection with SARS-CoV-2 through 7 days after the second dose. Table 5 presents
the specific demographic characteristics in the studied population.

Table 5: Demographics (population for the primary efficacy endpoint)a
                                                 Pfizer-BioNTech
                                                COVID-19 Vaccine                           Placebo
                                                    (N=18,242)                            (N=18,379)
                                                        n (%)                               n (%)
 Sex
     Male                                           9318 (51.1)                           9225 (50.2)
     Female                                         8924 (48.9)                           9154 (49.8)
 Age (years)
     Mean (SD)                                      50.6 (15.70)                          50.4 (15.81)
     Median                                              52.0                                 52.0
     Min, max                                          (12, 89)                             (12, 91)
 Age group
     ≥12 through 15 years                              46 (0.3)                             42 (0.2)
     ≥16 through 17 years                              66 (0.4)                             68 (0.4)
     ≥16 through 64 years                          14,216 (77.9)                         14,299 (77.8)
     ≥65 through 74 years                           3176 (17.4)                           3226 (17.6)
     ≥75 years                                        804 (4.4)                            812 (4.4)
 Race
     White                                         15,110 (82.8)                         15,301 (83.3)
     Black or African American                       1617 (8.9)                           1617 (8.8)
     American Indian or Alaska Native                 118 (0.6)                            106 (0.6)
     Asian                                            815 (4.5)                            810 (4.4)
     Native Hawaiian or other Pacific Islander         48 (0.3)                             29 (0.2)
     Otherb                                           534 (2.9)                            516 (2.8)


Revised: 25 February 2021                                                                                    27
      Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 80 of 104 Page ID #:80

                                                                 Pfizer-BioNTech
                                                                COVID-19 Vaccine                           Placebo
                                                                    (N=18,242)                            (N=18,379)
                                                                       n (%)                                n (%)
 Ethnicity
    Hispanic or Latino                                               4886 (26.8)                          4857 (26.4)
    Not Hispanic or Latino                                          13,253 (72.7)                        13,412 (73.0)
    Not reported                                                      103 (0.6)                            110 (0.6)
 Comorbiditiesc
    Yes                                                              8432 (46.2)                          8450 (46.0)
    No                                                               9810 (53.8)                          9929 (54.0)
 a. All eligible randomized participants who receive all vaccination(s) as randomized within the predefined window, have no other
    important protocol deviations as determined by the clinician, and have no evidence of SARS-CoV-2 infection prior to 7 days
    after Dose 2.
 b. Includes multiracial and not reported.
 c. Number of participants who have 1 or more comorbidities that increase the risk of severe COVID-19 disease
    • Chronic lung disease (e.g., emphysema and chronic bronchitis, idiopathic pulmonary fibrosis, and cystic fibrosis) or
         moderate to severe asthma
    • Significant cardiac disease (e.g., heart failure, coronary artery disease, congenital heart disease, cardiomyopathies, and
         pulmonary hypertension)
    • Obesity (body mass index ≥ 30 kg/m2)
    • Diabetes (Type 1, Type 2 or gestational)
    • Liver disease
    • Human Immunodeficiency Virus (HIV) infection (not included in the efficacy evaluation)

Efficacy Against COVID-19

The population in the primary efficacy analysis included all participants 12 years of age and older who had been
enrolled from July 27, 2020, and followed for the development of COVID-19 through November 14, 2020.
Participants 18 to 55 years of age and 56 years of age and older began enrollment from July 27,2020, 16 to
17 years of age began enrollment from September 16, 2020 and 12 to 15 years of age began enrollment from
October 15, 2020.

The vaccine efficacy information is presented in Table 6.

Table 6: Vaccine Efficacy – First COVID-19 Occurrence From 7 Days After Dose 2, by Age
          Subgroup – Participants Without Evidence of Infection and Participants With or Without
          Evidence of Infection Prior to 7 Days After Dose 2 – Evaluable Efficacy (7 Days) Population
      First COVID-19 occurrence from 7 days after Dose 2 in participants without evidence of prior
                                          SARS-CoV-2 infection*
                              Pfizer-BioNTech                  Placebo
                             COVID-19 Vaccine
                                 Na=18,198                   Na=18,325
                                    Cases                       Cases
                                     n1b                         n1b               Vaccine Efficacy %
 Subgroup                  Surveillance Time (n2 ) Surveillance Time (n2 )
                                             c   d                      c    d
                                                                                        (95% CI)
              e
  All subjects                         8                         162                 95.0 (90.3, 97.6)f
                                2.214 (17,411)             2.222 (17,511)
  16 to 64 years                       7                         143                 95.1 (89.6, 98.1)g
                                1.706 (13,549)             1.710 (13,618)
  65 years and older                   1                          19                 94.7 (66.7, 99.9)g
                                 0.508 (3848)               0.511 (3880)
Revised: 25 February 2021                                                                                                       28
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 81 of 104 Page ID #:81

   First COVID-19 occurrence from 7 days after Dose 2 in participants with or without evidence of prior
                                         SARS-CoV-2 infection
                            Pfizer-BioNTech                   Placebo
                           COVID-19 Vaccine
                                Na=19,965                   Na=20,172
                                   Cases                       Cases
                                    n1b                         n1b               Vaccine Efficacy %
  Subgroup               Surveillance Time (n2 ) Surveillance Time (n2 )
                                            c   d                      c    d
                                                                                        (95% CI)
   All subjectse                      9                         169                 94.6 (89.9, 97.3)f
                               2.332 (18,559)             2.345 (18,708)
   16 to 64 years                     8                         150                 94.6 (89.1, 97.7)g
                               1.802 (14,501)             1.814 (14,627)
   65 years and older                 1                          19                 94.7 (66.8, 99.9)g
                                0.530 (4044)               0.532 (4067)
 Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
 consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
 increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
 * Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
     SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled
     visit prior to 7 days after Dose 2 were included in the analysis.
 a. N = number of participants in the specified group.
 b. n1 = Number of participants meeting the endpoint definition.
 c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the
     endpoint. Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
 d. n2 = Number of participants at risk for the endpoint.
 e. No confirmed cases were identified in participants 12 to 15 years of age.
 f. Credible interval for VE was calculated using a beta-binomial model with a beta (0.700102, 1) prior for θ=r(1-VE)/(1+r(1-VE)),
     where r is the ratio of surveillance time in the active vaccine group over that in the placebo group.
 g. Confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the surveillance
     time.

19      HOW SUPPLIED/STORAGE AND HANDLING

Pfizer-BioNTech COVID-19 Vaccine Suspension for Intramuscular Injection, Multiple Dose Vials are supplied
in a carton containing 25 multiple dose vials (NDC 59267-1000-3) or 195 multiple dose vials
(NDC 59267-1000-2). After dilution, one vial contains 6 doses of 0.3 mL. Vial labels and cartons may state that
after dilution, a vial contains 5 doses of 0.3 mL. The information in this Full EUA Prescribing Information
regarding the number of doses per vial after dilution supersedes the number of doses stated on vial labels and
cartons.

During storage, minimize exposure to room light, and avoid exposure to direct sunlight and ultraviolet light.

Do not refreeze thawed vials.

Frozen Vials Prior to Use

Cartons of Pfizer-BioNTech COVID-19 Vaccine Multiple Dose Vials arrive in thermal containers with dry ice.
Once received, remove the vial cartons immediately from the thermal container and preferably store in an
ultra-low temperature freezer between -80ºC to -60ºC (-112ºF to -76ºF) until the expiry date printed on the
label. Alternatively, vials may be stored at -25°C to -15°C (-13°F to 5°F) for up to 2 weeks. Vials must be kept
frozen and protected from light, in the original cartons, until ready to use. Vials stored at -25°C to -15°C (-13°F
to 5°F) for up to 2 weeks may be returned one time to the recommended storage condition of -80ºC to -60ºC


Revised: 25 February 2021                                                                                                        29
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 82 of 104 Page ID #:82

(-112ºF to -76ºF). Total cumulative time the vials are stored at -25°C to -15°C (-13°F to 5°F) should be tracked
and should not exceed 2 weeks.

If an ultra-low temperature freezer is not available, the thermal container in which the Pfizer-BioNTech
COVID-19 Vaccine arrives may be used as temporary storage when consistently re-filled to the top of the
container with dry ice. Refer to the re-icing guidelines packed in the original thermal container for instructions
regarding the use of the thermal container for temporary storage. The thermal container maintains a temperature
range of -90ºC to -60ºC (-130ºF to -76ºF). Storage of the vials between -96°C to -60°C (-141°F to -76°F) is not
considered an excursion from the recommended storage condition.

Transportation of Frozen Vials

If local redistribution is needed and full cartons containing vials cannot be transported at -90°C to -60°C
(-130°F to -76°F), vials may be transported at -25°C to -15°C (-13°F to 5°F). Any hours used for transport
at -25°C to -15°C (-13°F to 5°F) count against the 2-week limit for storage at -25°C to -15°C (-13°F to 5°F).
Frozen vials transported at -25°C to -15°C (-13°F to 5°F) may be returned one time to the recommended storage
condition of -80ºC to -60ºC (-112ºF to -76ºF).

Thawed Vials Before Dilution

Thawed Under Refrigeration
Thaw and then store undiluted vials in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] for up to 5 days (120 hours).
A carton of 25 vials or 195 vials may take up to 2 or 3 hours, respectively, to thaw in the refrigerator, whereas a
fewer number of vials will thaw in less time.

Thawed at Room Temperature
For immediate use, thaw undiluted vials at room temperature [up to 25ºC (77ºF)] for 30 minutes. Thawed vials
can be handled in room light conditions.

Vials must reach room temperature before dilution.

Undiluted vials may be stored at room temperature for no more than 2 hours.

Transportation of Thawed Vials

Available data support transportation of one or more thawed vials at 2°C to 8°C (35°F to 46°F) for up to
12 hours. Any hours used for transport at 2°C to 8°C (35°F to 46°F) count against the 120-hour limit for storage
at 2°C to 8°C (35°F to 46°F).

Vials After Dilution

After dilution, store vials between 2°C to 25°C (35°F to 77°F) and use within 6 hours from the time of dilution.
During storage, minimize exposure to room light, and avoid exposure to direct sunlight and ultraviolet light.
Any vaccine remaining in vials must be discarded after 6 hours. Do not refreeze.




Revised: 25 February 2021                                                                                        30
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 83 of 104 Page ID #:83

20      PATIENT COUNSELING INFORMATION

Advise the recipient or caregiver to read the Fact Sheet for Recipients and Caregivers.

The vaccination provider must include vaccination information in the state/local jurisdiction’s Immunization
Information System (IIS) or other designated system. Advise recipient or caregiver that more information about
IISs can be found at: https://www.cdc.gov/vaccines/programs/iis/about.html.

21      CONTACT INFORMATION

For general questions, visit the website or call the telephone number provided below.

                       Website                                             Telephone number
                  www.cvdvaccine.com

                                                                            1-877-829-2619
                                                                          (1-877-VAX-CO19)



This Full EUA Prescribing Information may have been updated. For the most recent Full EUA Prescribing
Information, please see www.cvdvaccine.com.




Manufactured by
Pfizer Inc., New York, NY 10017


Manufactured for
BioNTech Manufacturing GmbH
An der Goldgrube 12
55131 Mainz, Germany

LAB-1457-5.4

Revised: 25 February 2021




Revised: 25 February 2021                                                                                   31
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 84 of 104 Page ID #:84




                          EXHIBIT “E”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 85 of 104 Page ID #:85




               FACT SHEET FOR RECIPIENTS AND CAREGIVERS
              EMERGENCY USE AUTHORIZATION (EUA) OF
  THE MODERNA COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
         (COVID-19) IN INDIVIDUALS 18 YEARS OF AGE AND OLDER

  You are being offered the Moderna COVID-19 Vaccine to prevent Coronavirus Disease 2019
  (COVID-19) caused by SARS-CoV-2. This Fact Sheet contains information to help you
  understand the risks and benefits of the Moderna COVID-19 Vaccine, which you may receive
  because there is currently a pandemic of COVID-19.

  The Moderna COVID-19 Vaccine is a vaccine and may prevent you from getting COVID-19.
  There is no U.S. Food and Drug Administration (FDA) approved vaccine to prevent COVID-19.

  Read this Fact Sheet for information about the Moderna COVID-19 Vaccine. Talk to the
  vaccination provider if you have questions. It is your choice to receive the Moderna COVID-19
  Vaccine.

  The Moderna COVID-19 Vaccine is administered as a 2-dose series, 1 month apart, into the
  muscle.

  The Moderna COVID-19 Vaccine may not protect everyone.

  This Fact Sheet may have been updated. For the most recent Fact Sheet, please visit
  www.modernatx.com/covid19vaccine-eua.

  WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

  WHAT IS COVID-19?
  COVID-19 is caused by a coronavirus called SARS-CoV-2. This type of coronavirus has not
  been seen before. You can get COVID-19 through contact with another person who has the
  virus. It is predominantly a respiratory illness that can affect other organs. People with COVID-
  19 have had a wide range of symptoms reported, ranging from mild symptoms to severe illness.
  Symptoms may appear 2 to 14 days after exposure to the virus. Symptoms may include: fever or
  chills; cough; shortness of breath; fatigue; muscle or body aches; headache; new loss of taste or
  smell; sore throat; congestion or runny nose; nausea or vomiting; diarrhea.

  WHAT IS THE MODERNA COVID-19 VACCINE?
  The Moderna COVID-19 Vaccine is an unapproved vaccine that may prevent COVID-19. There
  is no FDA-approved vaccine to prevent COVID-19.

  The FDA has authorized the emergency use of the Moderna COVID-19 Vaccine to prevent
  COVID-19 in individuals 18 years of age and older under an Emergency Use Authorization
  (EUA).

  For more information on EUA, see the “What is an Emergency Use Authorization (EUA)?”
  section at the end of this Fact Sheet.

  Revised: 12/2020                                                                                1
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 86 of 104 Page ID #:86




  WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
  YOU GET THE MODERNA COVID-19 VACCINE?
  Tell your vaccination provider about all of your medical conditions, including if you:
      • have any allergies
      • have a fever
      • have a bleeding disorder or are on a blood thinner
      • are immunocompromised or are on a medicine that affects your immune system
      • are pregnant or plan to become pregnant
      • are breastfeeding
      • have received another COVID-19 vaccine

  WHO SHOULD GET THE MODERNA COVID-19 VACCINE?
  FDA has authorized the emergency use of the Moderna COVID-19 Vaccine in individuals 18
  years of age and older.

  WHO SHOULD NOT GET THE MODERNA COVID-19 VACCINE?
  You should not get the Moderna COVID-19 Vaccine if you:
     • had a severe allergic reaction after a previous dose of this vaccine
     • had a severe allergic reaction to any ingredient of this vaccine

  WHAT ARE THE INGREDIENTS IN THE MODERNA COVID-19 VACCINE?
  The Moderna COVID-19 Vaccine contains the following ingredients: messenger ribonucleic acid
  (mRNA), lipids (SM-102, polyethylene glycol [PEG] 2000 dimyristoyl glycerol [DMG],
  cholesterol, and 1,2-distearoyl-sn-glycero-3-phosphocholine [DSPC]), tromethamine,
  tromethamine hydrochloride, acetic acid, sodium acetate, and sucrose.

  HOW IS THE MODERNA COVID-19 VACCINE GIVEN?
  The Moderna COVID-19 Vaccine will be given to you as an injection into the muscle.

  The Moderna COVID-19 Vaccine vaccination series is 2 doses given 1 month apart.

  If you receive one dose of the Moderna COVID-19 Vaccine, you should receive a second dose of
  the same vaccine 1 month later to complete the vaccination series.

  HAS THE MODERNA COVID-19 VACCINE BEEN USED BEFORE?
  The Moderna COVID-19 Vaccine is an unapproved vaccine. In clinical trials, approximately
  15,400 individuals 18 years of age and older have received at least 1 dose of the Moderna
  COVID-19 Vaccine.

  WHAT ARE THE BENEFITS OF THE MODERNA COVID-19 VACCINE?
  In an ongoing clinical trial, the Moderna COVID-19 Vaccine has been shown to prevent
  COVID-19 following 2 doses given 1 month apart. The duration of protection against COVID-19
  is currently unknown.



  Revised: 12/2020                                                                            2
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 87 of 104 Page ID #:87




  WHAT ARE THE RISKS OF THE MODERNA COVID-19 VACCINE?
  Side effects that have been reported with the Moderna COVID-19 Vaccine include:
     • Injection site reactions: pain, tenderness and swelling of the lymph nodes in the same arm
          of the injection, swelling (hardness), and redness
     • General side effects: fatigue, headache, muscle pain, joint pain, chills, nausea and
          vomiting, and fever

  There is a remote chance that the Moderna COVID-19 Vaccine could cause a severe allergic
  reaction. A severe allergic reaction would usually occur within a few minutes to one hour after
  getting a dose of the Moderna COVID-19 Vaccine. For this reason, your vaccination provider
  may ask you to stay at the place where you received your vaccine for monitoring after
  vaccination. Signs of a severe allergic reaction can include:
      • Difficulty breathing
      • Swelling of your face and throat
      • A fast heartbeat
      • A bad rash all over your body
      • Dizziness and weakness

  These may not be all the possible side effects of the Moderna COVID-19 Vaccine. Serious and
  unexpected side effects may occur. The Moderna COVID-19 Vaccine is still being studied in
  clinical trials.

  WHAT SHOULD I DO ABOUT SIDE EFFECTS?
  If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

  Call the vaccination provider or your healthcare provider if you have any side effects that bother
  you or do not go away.

  Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System
  (VAERS). The VAERS toll-free number is 1-800-822-7967 or report online to
  https://vaers.hhs.gov/reportevent.html. Please include “Moderna COVID-19 Vaccine EUA” in
  the first line of box #18 of the report form.

  In addition, you can report side effects to ModernaTX, Inc. at 1-866-MODERNA (1-866-663-
  3762).

  You may also be given an option to enroll in v-safe. V-safe is a new voluntary smartphone-based
  tool that uses text messaging and web surveys to check in with people who have been vaccinated
  to identify potential side effects after COVID-19 vaccination. V-safe asks questions that help
  CDC monitor the safety of COVID-19 vaccines. V-safe also provides second-dose reminders if
  needed and live telephone follow-up by CDC if participants report a significant health impact
  following COVID-19 vaccination. For more information on how to sign up, visit:
  www.cdc.gov/vsafe.




  Revised: 12/2020                                                                                  3
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 88 of 104 Page ID #:88




  WHAT IF I DECIDE NOT TO GET THE MODERNA COVID-19 VACCINE?
  It is your choice to receive or not receive the Moderna COVID-19 Vaccine. Should you decide
  not to receive it, it will not change your standard medical care.

  ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
  MODERNA COVID-19 VACCINE?
  Currently, there is no FDA-approved alternative vaccine available for prevention of COVID-19.
  Other vaccines to prevent COVID-19 may be available under Emergency Use Authorization.

  CAN I RECEIVE THE MODERNA COVID-19 VACCINE WITH OTHER VACCINES?
  There is no information on the use of the Moderna COVID-19 Vaccine with other vaccines.

  WHAT IF I AM PREGNANT OR BREASTFEEDING?
  If you are pregnant or breastfeeding, discuss your options with your healthcare provider.

  WILL THE MODERNA COVID-19 VACCINE GIVE ME COVID-19?
  No. The Moderna COVID-19 Vaccine does not contain SARS-CoV-2 and cannot give you
  COVID-19.

  KEEP YOUR VACCINATION CARD
  When you receive your first dose, you will get a vaccination card to show you when to return for
  your second dose of the Moderna COVID-19 Vaccine. Remember to bring your card when you
  return.

  ADDITIONAL INFORMATION
  If you have questions, visit the website or call the telephone number provided below.

  To access the most recent Fact Sheets, please scan the QR code provided below.

      Moderna COVID-19 Vaccine website                           Telephone number
     www.modernatx.com/covid19vaccine-eua                        1-866-MODERNA
                                                                  (1-866-663-3762)




  HOW CAN I LEARN MORE?
    • Ask the vaccination provider
    • Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html
    • Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-
      regulatory-and-policy-framework/emergency-use-authorization
    • Contact your state or local public health department




  Revised: 12/2020                                                                                4
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 89 of 104 Page ID #:89




  WHERE WILL MY VACCINATION INFORMATION BE RECORDED?
  The vaccination provider may include your vaccination information in your state/local
  jurisdiction’s Immunization Information System (IIS) or other designated system. This will
  ensure that you receive the same vaccine when you return for the second dose. For more
  information about IISs, visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

  WHAT IS THE COUNTERMEASURES INJURY COMPENSATION PROGRAM?
  The Countermeasures Injury Compensation Program (CICP) is a federal program that may help
  pay for costs of medical care and other specific expenses of certain people who have been
  seriously injured by certain medicines or vaccines, including this vaccine. Generally, a claim
  must be submitted to the CICP within one (1) year from the date of receiving the vaccine. To
  learn more about this program, visit www.hrsa.gov/cicp/ or call 1-855-266-2427.

  WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?
  The United States FDA has made the Moderna COVID-19 Vaccine available under an
  emergency access mechanism called an EUA. The EUA is supported by a Secretary of Health
  and Human Services (HHS) declaration that circumstances exist to justify the emergency use of
  drugs and biological products during the COVID-19 pandemic.

  The Moderna COVID-19 Vaccine has not undergone the same type of review as an FDA-
  approved or cleared product. FDA may issue an EUA when certain criteria are met, which
  includes that there are no adequate, approved, and available alternatives. In addition, the FDA
  decision is based on the totality of the scientific evidence available showing that the product may
  be effective to prevent COVID-19 during the COVID-19 pandemic and that the known and
  potential benefits of the product outweigh the known and potential risks of the product. All of
  these criteria must be met to allow for the product to be used during the COVID-19 pandemic.

  The EUA for the Moderna COVID-19 Vaccine is in effect for the duration of the COVID-19
  EUA declaration justifying emergency use of these products, unless terminated or revoked (after
  which the products may no longer be used).

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  Patent(s): www.modernatx.com/patents
  Revised: 12/2020




  Revised: 12/2020                                                                                  5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 90 of 104 Page ID #:90




                          EXHIBIT “F”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 91 of 104 Page ID #:91

                            INTEROFFICE CORRESPONDENCE
                             Los Angeles Unified School District
                                     Human Resources Division

TO:           Local District Superintendents                                DATE: March 4, 2021
              Executive Cabinet
              Administrators of Operations


FROM:         Linda Del Cueto
              Chief Human Resources Officer

SUBJECT:      HUMAN RESOURCES COVID-19 EMPLOYEE VACCINATION
              INFORMATION AND RESOURCES

The Moderna vaccine is currently being administered by Los Angeles Unified nurses and other
licensed healthcare professionals to Los Angeles Unified employees at the following sites and will
expand to additional sites moving forward:
    • Hollywood Park (So-Fi Stadium)
    • Diego Rivera Learning Complex
    • Edward R. Roybal Learning Center
    • Panorama High School

Email notifications have been sent to eligible school employees to schedule an appointment. The
invitations are non-transferrable and include Vaccination Guidance for Employees (Attachment 1) as
part of the email. The Principal/Supervisor Companion Document (Attachment 2) has also been
shared with principals and supervisors and provides information for supervisors.

District employees may either participate in the District’s COVID-19 vaccination program or provide
vaccination documentation in the form of an official Vaccination Record certified by a medical
professional.

VACCINATION INTERVAL
Los Angeles Unified is currently offering the Moderna vaccine which has a vaccine interval of 28 days
between the 1st and 2nd (final) dose.

EMPLOYEE VACCINATION PROCEDURES
All employees are eligible to receive the COVID-19 vaccination doses and will be notified to make an
appointment through the District’s vaccination program when it is their turn to get vaccinated.
Employees who do not participate in the District vaccination program may submit proof of vaccination
from an external medical provider through the LAUSD Daily Pass found at http://DailyPass.lausd.net.

Employees are allowed to be vaccinated during their regularly scheduled workday whether an
appointment is scheduled through the District or an external medical provider. Up to three hours of
worktime are allotted per dose, including observation reaction time which is approximately 15-30
minutes.

Employees are to complete and submit a Certification/Request of Absence for Non-Illness (Form No.
60.NON-ILL; Reissued 9/14/2020). Under Reason for Absence, select Option “M” for Other
Absences and identify MSND (Miscellaneous Natural Disaster) with explanation as COVID-19

                                                                                         Page 1 of 5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 92 of 104 Page ID #:92

vaccination. An absence due to natural disaster does not get deducted from the employees’ illness
balance.

Employees are to notify their supervisor one day ahead if they are scheduling an appointment during
their workday in order to assist their supervisor in making arrangements for work coverage.

Classroom teachers who schedule an appointment during their workday will request a substitute
teacher for the three-hour window via the SmartFind Express system and indicate “vaccination” as the
qualifying reason.

Employees who experience adverse physical reactions to the vaccination may be allotted additional
time (up to three days per vaccination) with the approval of their supervisor as specified in Reference
Guide REF-041184.0 and are to complete and submit a Certification/Request of Absence for Non-
Illness as stated above.

Employees experiencing any reaction to the vaccine prohibiting them from returning to work for more
than three days will coordinate with their supervisor to determine if there is work that can be done
remotely. If remote work cannot be performed, employees may avail themselves of benefited time.

Employees who drive their personal vehicles to Hollywood Park (SoFi Stadium) or to a District
location for vaccination during their workday will be reimbursed in accordance with Board and District
mileage rules.

SUPERVISOR RESPONSIBILITIES
Supervisors shall allow employees to be vaccinated during their regularly scheduled workday. Up to
three hours of worktime (per dose) are allotted, including observation reaction time which is
approximately 15-30 minutes.

SUBMISSION OF DOCUMENTATION
Current District employees will submit documentation of COVID-19 vaccination through the Daily
Pass web portal at http://DailyPass.lausd.net as indicated in their vaccination notification. New
employees may submit results as part of their applicant processing.

       New employees should submit results via:
       U.S. or School Mail:
           Los Angeles Unified School District
           Human Resources Division
           Employee Health Services – SB 792
           333 S. Beaudry Avenue, 14-110
           Los Angeles, CA 90017
           Fax: (213) 241-8918

For additional questions, please contact or refer to the following:
   • Medical: Dr. Smita Malhotra, District Medical Director, at smita.malhotra@lausd.net.
   • Integrated Disability Management: Dawn Watkins, Director, at dawn.watkins@lausd.net.
   • COVID-19 Vaccination: Eugene Hernandez, Executive Director, Response Team at
      eugene.hernandez@lausd.net.
   • Staff Relations Issues: Contact the Staff Relations Field Director/Senior HR Representative
      assigned to your Local District/Division or email Staff.Relations@lausd.net
   • COVID-19 Vaccination Information and Resources: See Attachment 3
                                                                                          Page 2 of 5
     Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 93 of 104 Page ID #:93

                                                                                       ATTACHMENT 1



You received an email notification that you are eligible to schedule a COVID-19 vaccine appointment. Your
invitation is non-transferrable. Below is additional guidance to support you as you schedule your COVID-19
vaccination appointment.


                               VACCINATION GUIDANCE FOR EMPLOYEES


                                        COVID-19 Vaccination Appointments
         •   The Moderna vaccine will be administered by Los Angeles Unified nurses and other licensed
             healthcare professionals to Los Angeles Unified employees.
         •   Current vaccinations are only available for employees scheduled for their first dose.
         •   You will schedule your appointment at https://covidvaccine.lausd.net and will receive a
             confirmation email with a QR code which you must show at the time of check-in.
         •   You must bring official identification or school ID to your appointment.
                                              Coverage and Notification
         •   You will be allowed a three-hour window for your vaccination during your workday, including
             travel time to the vaccination location, and your time will be coded as Miscellaneous Natural
             Disaster (MSND).
         •   Notify your supervisor at least one day ahead of your vaccination appointment.
         •   Classroom teachers who schedule an appointment during their workday will request a
             substitute teacher for the three-hour window via the SmartFind Express system and indicate
             “vaccination” as the qualifying reason.
                                               Vaccination Verification
         •   You will provide proof of vaccination via the DailyPass for time reporting purposes.
                                              Vaccination Location Sites
             Hollywood Park (SoFi Stadium)                         Edward R. Roybal Learning Center Gym
             1000 S. Prairie Avenue                                1200 Colton Street
             Inglewood, CA 90305                                   Los Angeles, CA 90026
             SoFi Stadium – Google Maps                         Edward R. Roybal LC - Google Maps

             Diego Rivera Learning Complex                      Panorama High School
             6100 S. Central Avenue                             8015 S. Van Nuys Blvd.
             Los Angeles, CA 90001                              Panorama City, CA 91402
             Rivera Learning Complex – Google Maps              Panorama High School – Google Maps



    For additional information on COVID-19, including FAQs, please call Los Angeles Unified’s COVID-19
    Testing and Vaccination Helpdesk at (213) 241-2700.




                                                                                             Page 3 of 5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 94 of 104 Page ID #:94

                                                                                    ATTACHMENT 2




                             VACCINATION GUIDANCE FOR SUPERVISORS
                              Principal/Supervisor Companion Document

                               Information for Principals and Supervisors
   •   The Moderna vaccine will be administered by Los Angeles Unified nurses and other licensed
       healthcare professionals to Los Angeles Unified employees.
   •   An email notification will be sent to eligible school employees to schedule an appointment. The
       invitation is non-transferrable.
   •   Employees will schedule their appointment at https://covidvaccine.lausd.net and will receive a
       confirmation email with a QR code which they must show at the time of check-in.
                           Substitute Coverage and Notification Requirements
   •   Employees will be allowed a three-hour window to receive their vaccination during their
       workday, including travel time, and their time will be coded as Miscellaneous Natural Disaster
       (MSND).
   •   Employees will notify their supervisor at least one day in advance of their vaccination
       appointment.
   •   Classroom teachers will request a substitute teacher for the three-hour window via the
       SmartFind Express system and indicate “vaccination” as the qualifying reason.
   •   Funding will be provided by the District and time reporters will receive instructions and funding
       source information for substitute teacher coverage.
   •   Substitute teachers are requested for three hours but may be held over in the event of
       unforeseen circumstances.
                                         Vaccination Verification
   •   Employees will provide proof of vaccination via the DailyPass for time reporting purposes.
                                        Vaccination Location Sites
       Hollywood Parks (SoFi Stadium)                         Edward R. Roybal Learning Center Gym
       1000 S. Prairie Avenue                                 1200 Colton Street
       Inglewood, CA 90305                                    Los Angeles, CA 90026
       SoFi Stadium – Google Maps                          Edward R. Roybal LC - Google Maps

       Diego Rivera Learning Complex                       Panorama High School
       6100 S. Central Avenue                              8015 S. Van Nuys Blvd
       Los Angeles, CA 90001                               Panorama City, CA 91402
       Rivera Learning Complex – Google Maps               Panorama High School – Google Maps



For information regarding the above guidance, please contact your Staff Relations Field Director
and/or Senior HR Representative.



                                                                                          Page 4 of 5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 95 of 104 Page ID #:95

                                                                                ATTACHMENT 3


               COVID-19 VACCINATION INFORMATION AND RESOURCES
Listed below are educational resources about the COVID-19 vaccine and the vaccination process from
health partners and health authorities.
Los Angeles Unified Medical Director of Employee Health Services
Dr. Smita Malhotra shares information about the COVID-19 vaccine:
    • https://lausd.wistia.com/medias/zy37jhyrh2
   •   The video will be also be available through MyPLN (keyword: vaccineinfo2021)

Los Angeles County Department of Public Health
Contains general information about the COVID-19 vaccine and educational materials
   • LA County COVID-19 Vaccine - LA County Department of Public Health
   •   FAQ: http://www.ph.lacounty.gov/media/Coronavirus/docs/about/FAQ-Vaccine.pdf
   •   Vaccine Misinformation:
       http://www.ph.lacounty.gov/media/Coronavirus/docs/about/COVID19VaccineMisinformation.
       pdf

Centers for Disease Control and Prevention (CDC)
Contains resources and informational materials about the COVID-19 vaccine
   • https://www.cdc.gov/coronavirus/2019-ncov/vaccines/index.html

University of California Los Angeles (UCLA)
UCLA has created a multilingual resource hub with a number of videos and information in various
languages
   • https://www.translatecovid.org/

Johns Hopkins University
The Johns Hopkins Bloomberg School of Public Health has created an informational video on the
COVID-19 vaccine and how mRNA vaccines work
   • https://www.youtube.com/watch?v=w4sUuFBEo2g

Cincinnati Children's Hospital
Contains videos and resources for families
   • https://www.cincinnatichildrens.org/patients/coronavirus-information/vaccines
   •   https://www.cincinnatichildrens.org/patients/coronavirus-information/vaccines/busting-myths




                                                                                      Page 5 of 5
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 96 of 104 Page ID #:96




                         EXHIBIT “G”
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 97 of 104 Page ID #:97




     Dear Members:
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 98 of 104 Page ID #:98




     As previously reported, Adriana Salazar Avila and Mike Ford met with District
     representatives on Friday, January 29th, to discuss the District’s planned
     implementation of COVID-19 vaccinations for District employees and its draft
     Reference Guide on this topic.

     Although it appears the law is on the District’s side regarding mandatory
     vaccinations, we are urging the District to make COVID vaccines voluntary for
     District employees. It is important to note that a start date has not been set for
     the vaccination of District employees. As you’re probably aware, Superintendent
     Beutner continues to wrangle with State and County officials to secure
     vaccinations for District employees. He has asked for 25,000 vaccinations for
     District employees.

     We wanted to share some of the Q&A from our meeting with the District, hoping
     that it answers some of your pending questions.

     PLEASE NOTE THAT THIS IS INFORMATION WE HAVE TO
     DATE. WITH THE EVERCHANGING LANDSCAPE SURROUNDING
     COVID-19 VACCINATIONS AND STATE/COUNTY/DISTRICT
     DIRECTIVES AND POLICIES, THE ANSWERS BELOW MAY VERY
     WELL CHANGE.


          1. Will all District employees be required to be vaccinated? Are any
             exceptions being made for teachers? If so, what are the exceptions and
             provide a copy of any relevant documents reflecting agreements reached
             with UTLA regarding this. Answer: All District employees will be
             required to be vaccinated. No exceptions have been made
             and no agreements have been reached with any other
             bargaining units. Available exemptions will be made for all
             employees regardless of their bargaining unit or lack thereof
             (non-represented employees).
          2. Which vaccine will be used? Answer: The District will acquire
             the Moderna vaccine.
          3. When will our members receive educational information about the
             vaccine and vaccination process? Answer: The District is working
             on preparing educational materials.
          4. If our members have an adverse reaction to the mandatory vaccine, why
             should they have to use their personal benefit time? Answer: The
             District believes that Workers Comp Leave is the most
             appropriate benefit time to be used for adverse reactions.
          5. Will the District indemnify members in case of severe adverse
             reactions? Answer: The District will rely on their Workers
             Comp insurance.
          6. What is the reasonable accommodation process that will be followed?
             Please provide details. Answer: These details are not yet
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 99 of 104 Page ID #:99




             available because of the expected widespread nature of
             reasonable accommodations that will have to be made.
          7. How will the District address the large contingent of African American
             employees who have serious concerns about people of color being used
             as experimental subjects for vaccines in the past? Their objections may
             not be religious in nature, but their objections, based on documented
             history, cannot be ignored. Answer: The District is working with
             faith-based groups to address these concerns.
          8. The State and County have a shortage of vaccines available. Under these
             circumstances, what happens when employees are unable to be
             vaccinated by the deadline(s) established by the
             District? Answer: There are currently no deadlines in place
             because of this reason.
          9. When is the date by which employees must be vaccinated? Answer: A
             deadline has not been established.


     EXEMPTIONS

     As you might expect, we spent a significant amount of time discussing
     exemptions to vaccinations. The District is required to offer legal exemptions
     and undergo a reasonable accommodation process for employees upon
     request. THIS DOES NOT MEAN THAT EMPLOYEES CAN SIMPLY ASK TO BE
     “EXEMPT” FROM BEING VACCINATED. Instead, this means that an employee
     who requests an exemption will have to state a basis for the exemption and go
     through the reasonable accommodation process and demonstrate that they will
     not “pose a direct threat at the worksite”. This means you will have to
     demonstrate how your work can be performed from home, a remote location, or
     at a time when you do not pose a direct threat.

     If the District is unable to accommodate you without an undue burden to the
     District, you may be barred from the worksite. This means you will not be
     working if your work can ONLY be performed at the worksite, and you are not
     allowed to enter.


     WHAT’S HAPPENING NOW?

     Currently, approximately 700 LAUSD employees have been asked to be
     vaccinated for COIVD-19. The employees have been classified by LAUSD as
     healthcare workers because they work at or provide a specific service to the
     current COVID-19 testing sites.

     The District is aware of the shortage of vaccines and this is impacting its ability to
     roll out their mandatory vaccination program for current and future employees.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 100 of 104 Page ID #:100




      We pointedly asked the District why they are rushing to have employees
      vaccinated. Their answer was so that we can get back to normal as quickly as
      possible. We asked the District why they didn’t first offer vaccinations to those
      employees who want to be vaccinated, making it voluntary. They responded by
      noting that they want all employees vaccinated because a single person who is
      unvaccinated can pose a threat to everyone at their worksite.

      We asked about those employees who are not currently classified as healthcare
      workers or who may be working from home that want to be vaccinated now; can
      they skip ahead of those who are already being asked to vaccinate and have
      not? The District’s reply was that they are being closely monitored by LA County
      and it is the County who allows them to move from one Phase or Tier to the next,
      not the availably or willingness of employees.

      The biggest hurdle the District faces in getting vaccines for its employees is that
      the guidelines for vaccinations are constantly changing, and there is a limited
      supply of vaccinations available.

      We are nowhere near done discussing this issue and plan to schedule more
      meetings with the District as more information becomes available.

      If you are one of the 700 who have been classified as healthcare workers, we are
      aware that St. John’s Medical Center is available for appointments or walk-
      ins. Kaiser Permanente is also offering vaccines for healthcare workers and
      anyone over the age of 75. You do not have to have Kaiser insurance to be
      vaccinated at Kaiser. To be vaccinated anywhere, you must have a photo ID,
      proof of eligibility (to be vaccinated) and present your medical insurance card.


      DPA TIME CALENDAR

      We are aware there was a lag in the ability of timekeepers to enter the pay
      differential. Last night a 2021 Differential Payroll calendar was sent to all
      timekeepers which will also be posted on the Payroll website
      at https://achieve.lausd.net/Page/16980.


      RETURN FROM SAFER AT HOME

      The District has decided to postpone the implementation of its Safer at Home
      Order, acknowledging that its planned implementation was premature. We will
      provide an update once we have had an opportunity to meet with the District and
      all affected Labor Partners.

      TO BE CLEAR, THE PROPOSED ORDER TO RE-OPEN SCHOOLS ON
      FEBRUARY 16TH AND/OR 22ND HAS BEEN RESCINDED.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 101 of 104 Page ID #:101




      VACCINE EDUCATION

      Kaiser Permanente reached out to our Local Union to offer a COVID-19 Vaccine
      Webinar focused on the Education Community.




      The coronavirus has had a profound impact on nearly every school and every
      community across the country and the world. Its effect is radically re-shaping
      how we envision school life. Kaiser Permanente Thriving Schools is here to
      support you.

      We are offering a webinar series focused on supporting the comprehensive health
      needs of students, educators, school staff, and the entire education community,
      as we navigate the impact of COVID 19. Join us and get information on how to
      navigate this new normal.

      Webinar: COVID-19 Vaccines: Focus on the Education Community

      You’ll learn about:


           • COVID-19    vaccines —Clinical information around development and
              safety of vaccines
           • Focus on Your Questions —Frequently asked questions related to
              related to public and clinical health of COVID-19 and the school
              community


      Note: This webinar will not cover vaccine distribution for school districts and
      employees.

      From presenters:


           • Deb   Friesen, MD, MBA, FACP, Physician Advisor
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 102 of 104 Page ID #:102




           • Annie Reed,   DrPH, MPP, National Director of Thriving Schools


      Choose the time that works for you:

      February 16th, 12:30 PM - 1:00 PM PST - To Register, Click Here

      February 16th, 3:30 PM - 4:00 PM PST - To Register, Click Here

      February 17th, 5:30 PM - 6:00 PM PST - To Register, Click Here


      Additional Resources

      Thriving Schools Website

      Planning for the Next Normal at School Playbook

      Resources for Schools and Families Impacted by COVID-19

      Please note that this is NOT from LAUSD and should not be considered Vaccine
      Education offered by your employer.


      James R. Hoffa Memorial Scholarship

      For the sons, daughters, and financial dependents of Teamster
      members: Academic scholarships ranging from $1,000 to $10,000 for high
      school seniors planning to attend a four-year college or university and
      training/vocational program awards of up to $2,000 for use at community
      colleges and trade schools.

      Applications can be found here: https://aim.applyISTS.net/JRHMSF

      The deadline to apply is March 1, 2021. For general questions about the
      James R. Hoffa Memorial Scholarship Fund, please call 855-670-ISTS (4787) or
      Email: ContactUs@applyISTS.com.


      EMPLOYEE ASSISTANCE PROGRAM (EAP)

      As a reminder, the District will provide Employee Assistance Program (EAP)
      through Anthem to all LAUSD employees, as a free resource during these
      unprecedented times. The program is confidential and accessible 24 hours a day,
      7 days a week. It offers a wide variety of professional services, referrals, and
      online resources to help cope with stressful situations.
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 103 of 104 Page ID #:103




      Some of the services include:


            • 3 one-on-one professional counseling by phone, in-person, or online per
               issue
            • Crisis Consultation
            • Legal and financial consultation
            • ID recovery and monitoring
            • Dependent care and daily living resources
            • Online digital resources



      YOU DO NOT HAVE TO BE AN ANTHEM MEMBER TO QUALIFY FOR
      EAP. For more information please call Anthem EAP at (800) 999-7222, or
      visit AnthemEAP.com and enter the code: LAUSD.

      Adriana Salazar Avila and Mike Ford continue to remain available via email, text,
      and cell phone. Again, text messages and emails are likely to receive the fastest
      response, but our goal is to answer all calls, emails, and texts within 24 hours. If
      you have an emergency or don’t hear back from us within 48 hours, PLEASE
      contact us AGAIN!!! Do not wait!

      In solidarity,

      Adriana Salazar Avila
      asalazar@teamsters572.org
      (310) 365-7872

      Mike Ford
      mford@teamsters572.org
      (310) 499-3556




                                                            Lourdes M. Garcia
                 Rick Middleton                                 President
               Secretary-Treasurer                         Teamsters Local 572
               Teamsters Local 572


      www.teamsters572.org
Case 2:21-cv-02388-DSF-PVC Document 1 Filed 03/17/21 Page 104 of 104 Page ID #:104




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